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1     Seth W. Wiener (SBN 203747)
      seth@sethwienerlaw.com
2     LAW OFFICES OF SETH W. WIENER
      609 Karina Court
3     San Ramon, CA 94582
      Telephone: (925) 487-5607
4
      Timothy Devlin
5     DEVLIN LAW FIRM LLC
      1526 Gilpin Avenue
6     Wilmington, Delaware 19806
      Telephone: (302) 449–9010
7     Facsimile: (302) 353–4251
8     David Sochia
      Texas State Bar No. 00797470
9     dsochia@McKoolSmith.com
      Ashley N. Moore
10    Texas State Bar No. 24074748
      amoore@McKoolSmith.com
11    Richard A. Kamprath
      Texas State Bar No. 24078767
12    rkamprath@McKoolSmith.com
      Alexandra Easley
13    Texas State Bar No. 24099022
      aeasley@McKoolSmith.com
14    MCKOOL SMITH, P.C.
      300 Crescent Court Suite 1500
15    Dallas, TX 75201
      *Pro Hac Applications forthcoming
16
      Attorneys for Plaintiff
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18                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
19

20
      BELL SEMICONDUCTOR, LLC                        '22CV595 TWR MSB
                                            Case No. ______________
21

22                       Plaintiff,         ORIGINAL COMPLAINT

23          v.
                                            JURY TRIAL DEMANDED
24    QUALCOMM INC. and
25
   QUALCOMM TECHNOLOGIES,
26 INC.
27                       Defendants.
28
                                                              ORIGINAL COMPLAINT
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1           Plaintiff Bell Semiconductor, LLC (“Bell Semic” or “Plaintiff”) brings this
2     Complaint against Defendants Qualcomm Inc. and Qualcomm Technologies, Inc.
3     (collectively “Qualcomm”) for infringement of U.S. Patent No. 7,007,259 (“the ’259
4     patent”). Plaintiff, on personal knowledge of its own acts, and on information and belief
5     as to all others based on investigation, alleges as follows:
6                                SUMMARY OF THE ACTION
7           1.     This is a patent infringement suit relating to Qualcomm’s unauthorized
8     and unlicensed use of the ʼ259 patent. The circuit design methodology claimed in the
9     ʼ259 patent is used by Qualcomm in the production of one or more of its semiconductor
10    chips, including its 5G RF transceiver chips such as the Snapdragon 865 and 665.
11          2.     Semiconductor devices include different kinds of materials to function as
12    intended. For example, these devices typically include both metal (i.e., conductor) and
13    insulator materials, which are deposited or otherwise processed sequentially in layers
14    to form the final device. These layers—and the interconnects and components formed
15    within them—have gotten much smaller over time, increasing the performance of these
16    devices dramatically. As a result, it has become even more important to keep the layers
17    planar as the device is being built because defects and warpage can cause fabrication
18    issues and malfunctioning of the device. Manufacturers use a process called Chemical
19    Mechanical Planarization/Polishing (“CMP”) to smooth out the surface of the device
20    periodically between deposition and/or etching of each layer. This allows subsequent
21    layers to be built and connected more easily with fewer opportunities for short circuits
22    or other errors that render the device defective. CMP functions best when there is a
23    certain density and variance of the same material on the surface of the chip. This is
24    because different materials will be “polished” away at different rates, leading to erosion
25    or dishing on the surface. To reduce this problem “dummy” material, also known as
26    “dummy fill,” is typically inserted into low-density regions of the device to increase the
27    overall uniformity of the structures on the surface of the layer and reduce the density
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1     variability across the surface of the device. However, dummy fill can increase
2     capacitance if it is placed too close to signal wires, which slows the transmission speed
3     of signals and degrades the overall performance of the device.
4           3.     Prior to development of the methodology described in the ʼ259 patent, the
5     most widely implemented technology for insertion of dummy metal into a circuit design
6     required hardcoding a large “stay–away” distance between the dummy metal and clock
7     nets, which led to less space available for dummy metal insertion. This methodology
8     often made it impossible to insert enough dummy metal to meet the required minimum
9     density. The traditional dummy fill tools would often complete their run without
10    reaching the minimum density, thus requiring at least a second run of the tool for the
11    problem areas. In each problem area, the “stay-away” distance was reduced manually.
12    And if there was more than one problem area, the manufacturer would have to make
13    multiple runs of the tool, as it would have to address one problem area at a time. This
14    was an involved, iterative process that had the potential to negatively impact the
15    fabrication schedule and potentially the yield of the run, causing costs to go up.
16          4.     Vikram Shrowty and Santhanakrishnan Raman (“the Inventors”), the
17    inventors of the ʼ259 patent, understood the drawbacks of this “stay-away” design
18    process and set out to develop a more efficient method for inserting dummy metal into
19    a circuit design. The Inventors ultimately conceived of a dummy fill procedure that
20    minimizes the negative timing impact of dummy metal on clock nets, while still
21    achieving minimum density in a single run. The claimed invention begins by identifying
22    free spaces on each layer of the circuit design suitable for dummy metal insertion as
23    dummy regions. The dummy regions are then prioritized such that the dummy regions
24    located adjacent to clock nets are filled with dummy metal last, thereby minimizing any
25    timing impact on the clock nets.
26          5.     The inventions disclosed in the ’259 patent provide many advantages over
27    the prior art. In particular, they provide a simple and efficient method for dummy metal
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                                                                                   COMPLAINT
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1     insertion that minimizes the timing impact to clock nets and at the same time guarantees
2     reaching minimum density in a single pass. See Ex. A at 6:11–15. As mentioned above,
3     the patented invention results in the dummy regions being prioritized such that the
4     dummy regions located adjacent to clock nets are filled with dummy metal last, thereby
5     minimizing the timing impact on the clock nets. See Ex. A at 2:29–47. Additionally,
6     some embodiments of the patented invention further prioritize the dummy regions such
7     that the dummy regions adjacent to wider clock nets are filled with dummy metal after
8     dummy regions that are located adjacent to narrower clock nets. See Ex. A at 2:35–39.
9     These significant advantages are achieved through the use of the patented inventions
10    and thus the ’259 patent presents significant commercial value for companies like
11    Qualcomm.
12          6.     Bell Semic brings this action to put a stop to Qualcomm’s unauthorized
13    and unlicensed use of the inventions claimed in the ʼ259 patent.
14                                       THE PARTIES
15          7.     Plaintiff Bell Semic is a limited liability company organized under the
16    laws of the State of Delaware with a place of business at One West Broad Street, Suite
17    901, Bethlehem, PA 18018.
18          8.     Bell Semic stems from a long pedigree that began at Bell Labs. Bell Labs
19    sprung out of the Bell System as a research and development laboratory, and eventually
20    became known as one of America’s greatest technology incubators. Bell Labs
21    employees invented the transistor in 1947 in Murray Hill, New Jersey. It was widely
22    considered one of the most important technological breakthroughs of the time, earning
23    the inventors the Nobel Prize in Physics. Bell Labs made the first commercial
24    transistors at a plant in Allentown, Pennsylvania. For decades, Bell Labs licensed its
25    transistor patents to companies throughout the world, creating a technological boom
26    that led to the use of transistors in the semiconductor devices prevalent in most
27    electronic devices today.
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1           9.     Bell Semic, a successor to Bell Labs’ pioneering efforts, owns over 1,900
2     worldwide patents and applications, approximately 1,500 of which are active United
3     States patents. This patent portfolio of semiconductor–related inventions was
4     developed over many years by some of the world’s leading semiconductor companies,
5     including Bell Labs, Lucent Technologies, Agere Systems, and LSI Logic and LSI
6     Corporation (“LSI”). This portfolio reflects technology that underlies many important
7     innovations in the development of semiconductors and integrated circuits for high–tech
8     products, including smartphones, computers, wearables, digital signal processors, IoT
9     devices, automobiles, broadband carrier access, switches, network processors, and
10    wireless connectors.
11          10.    The principals of Bell Semic all worked at Bell Labs’ Allentown facility,
12    and have continued the rich tradition of innovating, licensing, and helping the industry
13    at large since those early days at Bell Labs. For example, Bell Semic’s CTO was an LSI
14    Fellow and Broadcom Fellow. He is known throughout the world as an innovator with
15    more than 300 patents to his name, and he has a sterling reputation for helping
16    semiconductor fabs improve their efficiency. Bell Semic’s CEO took a brief hiatus from
17    the semiconductor world to work with Nortel Networks in the telecom industry during
18    its bankruptcy. His efforts saved the pensions of tens of thousands of Nortel retirees
19    and employees. In addition, several Bell Semic executives previously served as
20    engineers at many of these companies and were personally involved in creating the
21    ideas claimed throughout Bell Semic’s extensive patent portfolio.
22          11.    On information and belief, Qualcomm Inc. has its principal place of
23    business and headquarters at 5775 Morehouse Drive, San Diego, CA 92121. On
24    information and belief, Qualcomm Technologies, Inc., a wholly-owned subsidiary of
25    Qualcomm Inc., “operates, along with its subsidiaries, substantially all of Qualcomm's
26    engineering, research and development functions, and substantially all of its products
27    and services businesses, including its QCT semiconductor business.” About Qualcomm,
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                                                                                  COMPLAINT
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1     Qualcomm (available at https://www.qualcomm.com/company/about) (last visited
2     April 26, 2022).
3            12.   On information and belief, Qualcomm develops, designs, and/or
4     manufactures products in the United States, including in this District, according to the
5     ʼ259    patented    process/methodology;        and/or   uses    the    ʼ259     patented
6     process/methodology in the United States, including in this District, to make products;
7     and/or distributes, markets, sells, or offers to sell in the United States and/or imports
8     products into the United States, including in this District, that were manufactured or
9     otherwise produced using the patented process. Additionally, Qualcomm introduces
10    those products into the stream of commerce knowing that they will be sold and/or used
11    in this District and elsewhere in the United States.
12                               JURISDICTION AND VENUE
13           13.   This is an action for patent infringement arising under the Patent Laws of
14    the United States, Title 35 of the United States Code. Accordingly, this Court has
15    subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).
16           14.   This Court has personal jurisdiction over Qualcomm under the laws of the
17    State of California, due at least to its substantial business in California and in this
18    District. Qualcomm has purposefully and voluntarily availed itself of the privileges of
19    conducting business in the United States, in the State of California, and in this District
20    by continuously and systematically placing goods into the stream of commerce through
21    an established distribution channel with the expectation that they will be purchased by
22    consumers in this District. In the State of California and in this District, Qualcomm,
23    directly or through intermediaries:(i) performs at least a portion of the infringements
24    alleged herein; (ii) develops, designs, and/or manufactures products according to the
25    ʼ259 patented process/methodology; (iii) distributes, markets, sells, or offers to sell
26    products formed according to the ʼ259 patented process/methodology; and/or (iv)
27    imports products formed according to the ʼ259 patented process/methodology.
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1           15.    On information and belief, venue is proper in this Court pursuant to 28
2     U.S.C. §§ 1391 and 1400 because Qualcomm has committed, and continues to commit,
3     acts of infringement in this District and has a regular and established place of business
4     in this District. For example, Qualcomm maintains a regular and established place of
5     business at its headquarters, which is located in the District at 5775 Morehouse Drive,
6     San Diego, CA 92121. On information and belief, Qualcomm maintains a campus
7     located in San Diego that consists of 36 buildings, 25,000 employees, and that spans
8     hundreds of acres of land. See This Corporate Campus is Now a Mini Smart City, Fast
9     Company     (available   at   https://www.fastcompany.com/90583927/this-corporate-
10    campus-is-now-a-mini-smart-
11    city#:~:text=With%2036%20buildings%2C%2025%2C000%20employees%2C%20a
12    nd%20hundreds%20of,technologies%20aimed%20at%20making%20spaces%20and
13    %20cities%20smarter) (last visited April 22, 2022).
14          16.    In addition to the foregoing, Qualcomm has numerous other regular and
15    established physical places of business in the District. More specifically, 32 of
16    Qualcomm’s 70 United States offices are located in this District. See 70 Offices in
17    USA, Qualcomm (available at
18    https://www.qualcomm.com/company/facilities/offices?country=USA&page=3) (last
19    visited April 22, 2022). For example, Qualcomm has offices at the following
20    locations, each of which are located within the District:
21          10555 Sorrento Valley Rd.                 9685 Scranton Rd.
22          San Diego, CA 92121-1608                  San Diego, CA 92121-1761
23
            9950 Barnes Canyon Rd.                    10145 Pacific Heights Blvd
24          San Diego, CA 92121-2720                  San Diego, CA 92121
25
            9393 Waples St.                           5855 Pacific Center Blvd.
26          Ste. 150                                  San Diego, CA 92121
            San Diego, CA 92121
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            10160 Pacific Mesa Blvd.                 10105 Pacific Heights Blvd.
            San Diego, CA 92121                      San Diego, CA 92121
2

3           10001 Pacific Heights Blvd.              10155 Pacific Heights Blvd.
            San Diego, CA 92121                      San Diego, CA 92121
4

5           4243 Campus Point Ct.                    5770 Morehouse Dr.
            San Diego, CA 92121-1513                 San Diego, CA 92121
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7           9325 Sky Park Court                      9380 Waples St.
            Ste. 360                                 Ste. 102-103
8           San Diego, CA 92123                      San Diego, CA 92121-3905
9
            5745 Pacific Center Blvd.                10445 Pacific Center Court
10          San Diego, CA 92121                      San Diego, CA 92121
11
            5525 Morehouse Dr.                       5545 Morehouse Dr.
12          San Diego, CA 92121-1710                 San Diego, CA 92121-1710
13
            5555 Morehouse Dr.                       6455 Lusk Blvd.
14          San Diego, CA 92121-1710                 San Diego, CA 92121-2779
15
            10190 McKellar Court                     5665 Morehouse Dr.
16          San Diego, CA 92121                      San Diego, CA 92121-1714
17
            10185 McKellar Ct.                       5535 Morehouse Dr.
18          San Diego, CA 92121-4233                 San Diego, CA 92121-1710
19
            5565 Morehouse Dr.                       5751 Pacific Center Blvd.
20          San Diego CA 92121-1710                  San Diego, CA 92121-4203
21
            5788 Pacific Center Blvd.                5808 Pacific Center Blvd.
22          San Diego, CA 92121-4202                 San Diego, CA 92121-4202
23
            5828 Pacific Center Blvd.                5737 Pacific Center Blvd.
24          San Diego, CA 92121-4202                 San Diego, CA 92121
25

26          17.    Currently, Qualcomm is advertising 1,140 jobs in the San Diego-metro
27    area. These positions include those that relate to the ʼ259 patented technology, such as
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1     positions for an I/O Circuit Design Engineer, 5G Customer Support Engineer, Design
2     Verification Engineer, RFIC Design Engineer, Circuit Design Engineer, and Digital
3     Circuit Design and Methodology Engineer. See Transform Your Career, Qualcomm
4     (https://qualcomm.wd5.myworkdayjobs.com/en-US/External) (last visited April 22,
5     2022).
6           18.    Venue is also convenient in this District. This is at least true because of
7     this District’s close ties to this case—including the technology, relevant witnesses, and
8     sources of proof noted above—and its ability to quickly and efficiently move this case
9     to resolution. Further, Qualcomm has purposely availed itself of the court system in this
10    District on more than a dozen occasions.
11          19.    On information and belief, Bell Semic’s cause of action arises directly
12    from Qualcomm’s circuit design work and other activities in this District. Moreover,
13    on information and belief, Qualcomm has derived substantial revenues from its
14    infringing acts occurring within the State of California and within this District.
15                                U.S. PATENT NO. 7,007,259
16          20.    Bell Semic is the owner by assignment of the ’259 patent. The ʼ259 patent
17    is titled “Method for Providing Clock-Net Aware Dummy Metal Using Dummy
18    Regions.” The ʼ259 patent issued on February 28, 2006. A true and correct copy of the
19    ʼ259 patent is attached as Exhibit A.
20          21.    The inventors of the ʼ259 patent are Vikram Shrowty and
21    Santhanakrishnan Raman.
22          22.    The application that resulted in the issuance of the ’259 patent was filed
23    on July 31, 2003. The ʼ259 patent claims priority to July 31, 2003.
24          23.    The ʼ259 patent generally relates to “methods for patterning dummy metal
25    to achieve planarity for chemical-mechanical polishing of integrated circuits, and more
26    particularly to a dummy fill software tool that provides clock-net aware dummy metal
27    using dummy regions.” Ex. A at 1:7–11.
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                                                                                    COMPLAINT
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1          24.    The background section of the ʼ259 patent identifies the shortcomings of
2    the prior art. More specifically, the specification describes that the prior circuit design
3    methodology was disadvantageous because it was “often impossible to insert enough
4    dummy metal into a tile to meet the required minimum density without reducing the
5    large dummy-to-clock distance.” Ex. A at 2:3–10. Use of this design process meant that
6    a second run of the metal-fill tool was often required in order to meet the density
7    requirements for all of the tiles. Ex. A at 2:10–14. Having to rerun the tool to meet the
8    density requirements made the design process an “involved, iterative process[,]” which
9    could “significantly impact the design schedule.” Ex. A at 2:14–18.
10         25.    In light of the drawbacks of the prior art, the Inventors recognized the need
11   to “minimize[] the negative timing impact of dummy metal on clock nets, while at the
12   same time achieving minimum density in a single run.” Ex. A at 2:19–23. The
13   inventions claimed in the ʼ259 patent addresses this need.
14         26.    The ʼ259 patent contains three independent claims and 37 total claims,
15   covering a method and computer readable medium for circuit design. Claim 1 reads:
16                1. A method for inserting dummy metal into a circuit design, the circuit
17                design including a plurality of objects and clock nets, the method
                  comprising:
18
19                       (a) identifying free spaces on each layer of the circuit design suitable
20                       for dummy metal insertion as dummy regions, and

21
                         (b) prioritizing the dummy regions such that the dummy regions
22                       located adjacent to clock nets are filled with dummy metal last,
                         thereby minimizing any timing impact on the clock nets.
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24         27.    This claim, as a whole, provides significant benefits and improvements to
25   the function of the semiconductor device, e.g., minimizing the negative timing impact
26   of dummy metal on clock nets while also reducing the opportunity for dishing and
27   erosion that could result in inaccurate transfer of patterns during lithography,
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1    suboptimal layouts/designs, inaccurate timing, reduced signal integrity, crosstalk delay,
2    noise issues, increased probability of failure, and ultimately defective or
3    underperforming devices. See, e.g., Ex. A at 6:11–15.
4            28.   The claims of the ’259 patent also recite inventive concepts that improve
5    the functioning of the fabrication process, particularly as to dummy filling. The claims
6    of the ʼ259 patent disclose a new and novel solution to specific problems related to
7    improving semiconductor fabrication. As explained in detail above and in the ʼ259
8    patent specification, the claimed inventions improve upon the prior art processes by
9    prioritizing dummy regions such that the dummy regions located adjacent to clock nets
10   are filled with dummy metal last. This has the advantage of reducing the impact of
11   dummy metal on signal and clock lines and increasing the efficiency, yield, and
12   design/layout miniaturization and flexibility of the manufacturing process. The claimed
13   inventive processes also increase performance and signal integrity, while reducing
14   crosstalk delay, noise issues, probability of failure, and defective and/or
15   underperforming devices.
16             COUNT I – INFRINGEMENT OF U.S. PATENT NO. 7,007,259
17           29.   Bell Semic re-alleges and incorporates by reference the allegations of the
18   foregoing paragraphs as if fully set forth herein.
19           30.   The ʼ259 patent is valid and enforceable under the United States Patent
20   Laws.
21           31.   Bell Semic owns, by assignment, all right, title, and interest in and to the
22   ʼ259 patent, including the right to collect for past damages.
23           32.   A copy of the ʼ259 patent is attached at Exhibit A.
24           33.   On information and belief, Qualcomm has and continues to directly
25   infringe pursuant to 35 U.S.C. § 271(a) one or more claims of the ’259 patent by using
26   the patented methodology to design one or more semiconductor devices, including as
27   one example the 5G RF Transceiver chips, in the United States.
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                                                                                   COMPLAINT
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1          34.    On information and belief, Qualcomm employs a variety of design tools,
2    for example, Cadence, Synopsys, and/or Siemens tools, to insert dummy metal into a
3    circuit design (the “Accused Processes”) as recited in the ʼ259 patent claims. As one
4    example, Qualcomm’s Accused Processes perform a method for inserting dummy
5    metal into a circuit design, where the circuit design includes a plurality of objects and
6    clock nets as required by claim 1 of the ʼ259 patent. Qualcomm does so by employing
7    a design tool, such as at least one of a Cadence, Synopsys, and/or Siemens tool, to insert
8    dummy metal into a circuit design for its 5G RF Transceiver chips. The 5G RF
9    Transceiver chips’ design include a plurality of objects, such as cells, interconnects,
10   signal nets, and clock nets.
11         35.    Qualcomm’s Accused Processes also identify free spaces on each layer of
12   the circuit design suitable for dummy metal insertion as dummy regions. Qualcomm
13   does so by employing a design tool, such as at least one of the Cadence, Synopsys,
14   and/or Siemens tools, to identify free spaces on each layer of its 5G RF Transceiver
15   chips’ circuit designs suitable for dummy metal insertion as dummy regions.
16         36.    Qualcomm’s Accused Processes also prioritize the dummy regions such
17   that the dummy regions located adjacent to clock nets are filled with dummy metal last,
18   thereby minimizing any timing impact on the clock nets. Qualcomm does so by
19   employing a design tool, such as at least one of the Cadence, Synopsys, and/or Siemens
20   tools, to prioritize dummy regions such that those adjacent to clock nets are filled with
21   dummy metal last. For example, the Accused Processes assign a “high cost” to adding
22   metal fill near the clock nets and “lower cost” to adding metal fill near signal, power,
23   and ground nets. Assigning “cost” in this way fills dummy regions adjacent to clock
24   nets last and minimizes any timing impact on the clock nets. An exemplary
25   infringement analysis showing infringement of one or more claims of the ’259 patent
26   is set forth in Exhibit B. The declaration of Lloyd Linder, an expert in the field of
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1    semiconductor device design, is attached at Exhibit C and further describes
2    Qualcomm’s infringement of the ʼ259 patent.
3          37.    Qualcomm’s Accused Processes infringe and continue to infringe one or
4    more claims of the ’259 patent during the pendency of the ’259 patent.
5          38.    On information and belief, Qualcomm has and continues to infringe
6    pursuant to 35 U.S.C. § 271, et. seq., directly or indirectly, either literally or under the
7    doctrine of equivalents, by using the Accused Processes in violation of one or more
8    claims of the ’259 patent. Qualcomm has and continues to infringe pursuant to 35
9    U.S.C. § 271, et. seq., directly or indirectly, either literally or under the doctrine of
10   equivalents, by making, selling, or offering to sell in the United States, or importing
11   into the United States products manufactured or otherwise produced using the Accused
12   Processes in violation of one or more claims of the ’259 patent.
13         39.    Qualcomm’s infringement of the ’259 patent was, and continues to be,
14   done with knowledge of the ’259 patent and with knowledge of Bell Semic’s contention
15   that Qualcomm is infringing the ’259 patent. On January 19, 2022, John Veschi and
16   Kouros Azimi of Bell Semic conducted a meeting over Zoom with John Scott of
17   Qualcomm. During the meeting, the Bell Semic personnel presented a slide deck
18   addressing the ’259 patent, which they forwarded to Mr. Scott following the Zoom
19   meeting. Qualcomm’s infringement of the ʼ259 patent is thus willful and deliberate,
20   entitling Bell Semic to enhanced damages and attorneys’ fees.
21         40.    Qualcomm’s infringement of the ʼ259 patent is exceptional and entitles
22   Bell Semic to attorneys’ fees and costs incurred in prosecuting this action under 35
23   U.S.C. § 285.
24         41.    Bell Semic has been damaged by Qualcomm’s infringement of the ʼ259
25   patent and will continue to be damaged unless Qualcomm is enjoined by this Court.
26   Bell Semic has suffered and continues to suffer irreparable injury for which there is no
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                                                                                    COMPLAINT
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1    adequate remedy at law. The balance of hardships favors Bell Semic, and public interest
2    is not disserved by an injunction.
3          42.    Bell Semic is entitled to recover from Qualcomm all damages that Bell
4    Semic has sustained as a result of Qualcomm’s infringement of the ʼ259 patent,
5    including without limitation and/or not less than a reasonable royalty.
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1                                   PRAYER FOR RELIEF
2          WHEREFORE, Bell Semic respectfully requests that this Court enter judgment
3    in its favor as follows and award Bell Semic the following relief:
4          (a)    a judgment declaring that Qualcomm has infringed one or more claims of
5                 the ʼ259 patent in this litigation pursuant to 35 U.S.C. § 271, et seq.;
6          (b)    an award of damages adequate to compensate Bell Semic for infringement
7                 of the ʼ259 patent by Qualcomm, in an amount to be proven at trial,
                  including supplemental post-verdict damages until such time as
8                 Qualcomm ceases its infringing conduct;
9
           (c)    a permanent injunction, pursuant to 35 U.S.C. § 283, prohibiting
10                Qualcomm and its officers, directors, employees, agents, consultants,
                  contractors, suppliers, distributors, all affiliated entities, and all others
11
                  acting in privity with Qualcomm, from committing further acts of
12                infringement;
13         (d)    a judgment requiring Qualcomm to make an accounting of damages
14                resulting from Qualcomm’s infringement of the ʼ259 patent;

15         (e)    enhanced damages for willful infringement;
16         (f)    the costs of this action, as well as attorneys’ fees as provided by 35 U.S.C.
17                § 285;

18         (g)    pre-judgment and post-judgment interest at the maximum amount
                  permitted by law;
19

20         (h)    all other relief, in law or equity, to which Bell Semic is entitled.

21
                                DEMAND FOR JURY TRIAL

22
           Plaintiff hereby demands a jury trial for all issues so triable.

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                                                 14
                                                                                    COMPLAINT
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     Dated: April 27, 2022
                                     /s/ Seth W. Wiener
2                                    Seth W. Wiener (SBN 203747)
3                                    seth@sethwienerlaw.com
                                     LAW OFFICES OF SETH W. WIENER
4                                    609 Karina Court
5                                    San Ramon, CA 94582
                                     Telephone: (925) 487-5607
6

7                                    Timothy Devlin
                                     DEVLIN LAW FIRM LLC
8                                    1526 Gilpin Avenue
9                                    Wilmington, Delaware 19806
                                     Telephone: (302) 449–9010
10                                   Facsimile: (302) 353–4251
11
                                     David Sochia
12                                   Texas State Bar No. 00797470
13                                   dsochia@McKoolSmith.com
                                     Ashley N. Moore
14                                   Texas State Bar No. 24074748
15                                   amoore@McKoolSmith.com
                                     Richard A. Kamprath
16                                   Texas State Bar No. 24078767
17                                   rkamprath@McKoolSmith.com
                                     Alexandra Easley
18                                   Texas State Bar No. 24099022
19                                   aeasley@McKoolSmith.com
                                     MCKOOL SMITH, P.C.
20                                   300 Crescent Court Suite 1500
21                                   Dallas, TX 75201
                                     *Pro Hac Applications forthcoming
22                                   Attorneys for Plaintiff Bell Semiconductor,
23                                   LLC
24

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                                         15
     4885-1056-4893                                                      COMPLAINT
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                  EXHIBIT A
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                                                                                                  USOO7007259B2


 (12) United States Patent                                                     (10) Patent No.:                 US 7,007,259 B2
        Shrowty et al.                                                         (45) Date of Patent:                       Feb. 28, 2006
 (54) METHOD FOR PROVIDING CLOCK-NET                                               6,446,248 B1      9/2002 Solomon et al. .............. 716/17
         AWARE DUMMY METALUSING DUMMY                                              6,751,785 B1* 6/2004 Oh ...................       ... 716/10
         REGIONS                                                                   6,815,811 B1* 11/2004 Ozawa et al. .....          ... 257/691
                                                                             2003/0177464 A1        9/2003 Takechi et al. ............... 71.6/10
  75                  w                                                      2003/0204832 A1        10/2003 Matumoto ........        ... 716/19
 (75) Inventors: SNARSA,R ACS)                                               2003/0229.479 A1 12/2003 Smith et al. .................. 703/14
                      CA (US)                                                                  OTHER PUBLICATIONS
 (73) Assignee: LSI Logic Corporation, Milpitas, CA                         Liu, George Y. et al., “Chip-Level CMP Modeling and Smart
                (US)                                                        Dummy for HDP and Conformal CVD Films,” CMP-MIC
                                                                            Conference, Feb. 11-12, 1999, pp. 120-127.
 (*) Notice:          Subject to any disclaimer, the term of this           * cited b
                      patent is extended or adjusted under 35                 cited by examiner
                      U.S.C. 154(b) by 260 days.                            Primary Examiner-Leigh M. Garbowski
                                                                            (74) Attorney, Agent, or Firm-Sawyer Law Group LLP
 (21) Appl. No.: 10/632,622
                                                                            (57)                      ABSTRACT
 (22) Filed:     Jul. 31, 2003
 (65)                Prior Publication Data                                 A method and System is disclosed for inserting dummy
         US 2005/0028121 A1 Feb. 3, 2005                                    metal into a circuit design, which includes a plurality of
                                             • -1s                          objects and clock nets. Aspects of the invention include
 (51) Int. Cl.                                                              identifying free Spaces on each layer of the chip design
      G06F 9/45            (2006.01)                                        Suitable for dummy metal insertion, wherein the free Spaces
      G06F 17/50           (2006.01)                                        are referred to as dummy regions. Thereafter, the dummy
 (52) U.S. Cl                        71.6/10; 716/2: 716/6                  regions are prioritized Such that the dummy regions located
 (58) Field Of Classification search        s       s None                  adjacent to clock nets are filled with dummy metal last. In
         See application file for complete search history                   a preferred embodiment, the dummy regions are further
                                                                            prioritized Such that the dummy regions adjacent to wider
 (56)                     References Cited                                  clock nets are filled with dummy metal after dummy regions
                                                                            that are located adjacent to narrower clock nets.
                U.S. PATENT DOCUMENTS
        6,093,214 A        7/2000 Dillon ......................... 716/17                   37 Claims, 5 Drawing Sheets




         Direction of
  dummy metal
              insertion
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        14
                                                       Design Database
                       Dummy Fill                            16
                       Application
                                                       Minimum Density
                                                        Requirements
                                                              18




                                     FIG. 1
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                                                             - 200
                      Initialize properties for each tile

                                                            /- 202                   FG. 2
                       Subtract outline of the object
                         from the dummy region

                                                            /- 204
                         Add area of the object to
                      the interconnect area property
                                                                     206

                       Partition current dummy region
                     into up to four sub-dummy regions
                                                                    20 8
                         Remove original dummy
                      region from the dummy list and
                      insert the new dummy regions
                                                 A - 21 O                                        A-212
               Yes
                                Object = wire         Yes         Store width of the wire as a
         Yes                    on clock net                       clock net width property
                                                                                                       214

                                                                       Tag each dummy
                                                                  region located immediately
                       216                                       adjacent to the clock net wire
                                                                 with a clock net edge property
                                    More
                                   objects                  No
                                       2                                                         218

                       220                             Calculate dummy metal area


                                    M             No-> Dummy metal insertion phase
                                       2
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                 50




                                         Tile Properties
                                       Dummy List 60
                 Dummy Region Clock Net Width Clock Net Edge     Timing Factor
                 Dummy Region                                    Timing Factor
                 Dummy Region   Clock Net Width Clock Net Edge   Timing Factor
                 Dummy Region                                    Timing Factor
                 Dummy Region Clock Net Width Clock Net Edge     Timing Factor
       50                68

                 Dummy Region Clock Net Width Clock Net Edge     Timing Factor

                                     Interconnect Area      Dummy Metal Area
            62                     64                      66


                                           FIG. 4
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                                                                 2 50

                             Calculate timing factor
                             for the dummy regions
                                                                        252

                       Sort the dummy region list for the tile
                      in ascending order of the timing factor
                                                                  254

                             insert dummy metal into
                            the sorted dummy regions
                                                                        256

                           Add the inserted area to the
                      interconnect area property of the tile
                                                                 258

                             Recalculate the dummy
           Yes   No            metal area for the tile


                                                               260

                                   Dummy Metal
                                      Positive




                                                           262




                                         No

                                        End
                                                                        FIG. 5
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                                         22%22




                 Direction of
                dummy metal
                    insertion
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                                                      US 7,007,259 B2
                                1                                                                       2
      METHOD FOR PROVIDING CLOCK-NET                                         However, hardcoding a large "stay-away' distance
      AWARE DUMMY METALUSING DUMMY                                       between dummy metal and clock nets may lead to leSS
                 REGIONS                                                 available Space in each tile for dummy metal insertion. New
                                                                         process technologies increasingly demand higher minimum
                FIELD OF THE INVENTION                                   density values and more timing-aggresive designs. In this
                                                                         Scenario, use of the Simple large dummy-to-clock distance
   The present invention relates to methods for patterning               methodology is disadvantageous. This is because it is often
 dummy metal to achieve planarity for chemical-mechanical                impossible to insert enough dummy metal into a tile to meet
 polishing of integrated circuits, and more particularly to a            the required minimum density without reducing the large
 dummy fill Software tool that provides clock-net aware                  dummy-to-clock distance. In this case, traditional metal-fill
 dummy metal using dummy regions.                                        tools complete their run without reaching minimum density
                                                                         in Some tiles, requiring a Second run of the tool for the
           BACKGROUND OF THE INVENTION                                   problematic tiles in which the dummy-to-clock distance is
                                                                         reduced. If there is more than one Such tile requiring a rerun,
   Chemical Mechanical Polishing (CMP) is a part of the             15   and the dummy fill tool can handle only one tile at a time,
 chip fabrication process that requires a uniform distribution           multiple runs may be needed: one for each tile. Such an
 of metal and silicon over the surface of the chip. To achieve           involved, iterative proceSS can Significantly impact the
 this distribution, pieces of interconnect (metal or Silicon)            design Schedule.
 must be inserted into available Spaces in low-density regions              Accordingly what is needed is an algorithm for dummy
 of the chip. This interconnect insertion is called dummy                fill that minimizes the negative timing impact of dummy
 metal filling or Simply dummy filling, and the inserted                 metal on clock nets, while at the same time achieving
 interconnect is called dummy metal.                                     minimum density in a Single run. The present invention
    Most fabrication processes require a minimum density for             addresses Such a need.
 the interconnects on each layer of a multi-layer chip design.      25                SUMMARY OF THE INVENTION
 The interconnect density for a region is the Sum total of the
 area of all interconnect in that region divided by the area of
 the region. Fabrication processes typically partition each                 The present invention provides a method for inserting
 layer of the design into rectangular regions, called tiles, and         dummy metal into a circuit design, which includes a plu
 Specify that the interconnect density of each tile meet a               rality of objects and clock nets. Aspects of the invention
 minimum density requirement.                                            include identifying free Spaces on each layer of the chip
    The process of determining the number and placement of               design Suitable for dummy metal insertion, wherein the free
 dummy metal is typically preformed by a dummy fill                      Spaces are referred to as dummy regions. Thereafter, the
 Software tool after routing and timing closure during chip              dummy regions are prioritized Such that the dummy regions
 design flow. The dummy fill tool examines the tiles in each             located adjacent to clock nets are filled with dummy metal
                                                                    35   last. In a preferred embodiment, the dummy regions are
 layer of the design and determines whether each tile has an             further prioritized Such that the dummy regions adjacent to
 interconnect density equal to or greater than the Specified
 minimum density. If the interconnect density does not meet              wider clock nets are filled with dummy metal after dummy
 the minimum density, then the dummy fill tool inserts                   regions that are located adjacent to narrower clock nets.
 dummy metal in free regions of the tile.                           40
                                                                            According to the method and System disclosed herein,
    Because dummy filling is one of the last Steps in the chip           inserting dummy metal into dummy regions that are not
 design flow, it is important that the dummy metal is inserted           adjacent to clock nets prior to inserting dummy metal into
 into the chip in Such a manner that minimizes any negative              clock-net adjacent dummy regions will be Sufficient to meet
 impact to timing. That is, patterning the dummy metal too               the minimum density requirement. This means that in many
 close to Signal nets increases capacitance between the             45
                                                                         cases, no dummy metal (or a minimal amount) is inserted in
 dummy lines and the Signal wires. The increased capacitance             the clock-net adjacent dummy regions, thereby minimizing
 can affect the Signal nets by Slowing the transmission Speed            the timing impact to the adjacent clock nets.
 of Signals, thereby degrading overall performance of the                      BRIEF DESCRIPTION OF THE DRAWINGS
 integrated circuit.
    Therefore, a common goal of dummy filling techniques is         50
                                                                           FIG. 1 is a block diagram illustrating a Software and
 the minimization of the parasitic capacitance introduced by             hardware environment in which the present invention may
 the dummy metal. The parasitic capacitance introduced by a              be implemented.
 piece of dummy metal on a Signal wire is inversely propor
 tional to the distance between the two. This means that to                FIG. 2 is a flow diagram illustrating the process per
 minimize timing impact, dummy metal must be placed far             55
                                                                         formed by the dummy fill application for inserting dummy
 away from Signal nets.                                                  metal into the chip design during a free Space finding phase.
    Of Signal nets, clock nets are of particular importance.               FIG. 3 is a diagram showing the handling of the dummy
 Care must be taken to minimize the negative timing impact               regions in a tile after all objects in the database have been
                                                                         iterated over.
 to clock nets. Traditionally, this has been achieved with a
 Simplistic approach. The dummy fill tool is programmed to          60     FIG. 4 is a diagram illustrating the properties Stored for
 maintain a larger distance between wires of clock nets and              each tile.
 the inserted dummy metal. This large dummy to clock                        FIG. 5 is a flow diagram illustrating the process per
 distance is arrived at by Studying the effect on timing that the        formed by the dummy fill application during a dummy metal
 inserted dummy metal has at various distances from clock                insertion phase.
 nets in Sample designs, and then hardcoding the distances          65      FIG. 6 is a diagram illustrating metal insertion in clock
 into the dummy fill libraries for each type of process                  net adjacent dummy regions according to preferred embodi
 technology.                                                             ment of the present invention.
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                                                      US 7,007,259 B2
                                3                                                                       4
            DETAILED DESCRIPTION OF THE                                  dummy metal area property will be used to Specify the total
                    INVENTION                                            amount of dummy metal inserted into the tile.
                                                                            In step 202, the dummy fill application 12 traverses the
    The present invention relates to design methodologies for            design database 16 and for each object found in the current
 dummy metal filling. The following description is presented             tile, Subtracts the outline of the object from the dummy
 to enable one of ordinary skill in the art to make and use the          region on which it lies.
 invention and is provided in the context of a patent appli                 FIG. 3 is a diagram showing the processing of a dummy
 cation and its requirements. Various modifications to the               region 50 once an object 52 is found intersecting the dummy
 preferred embodiments and the generic principles and fea                region 50. Referring to both FIGS. 2 and 3, the area of the
 tures described herein will be readily apparent to those                object 52 is added to the interconnect area property for the
 skilled in the art. Thus, the present invention is not intended         tile in step 204. In step 206, the current dummy region is
 to be limited to the embodiments shown, but is to be                    partitioned into up to four sub-dummy regions 50a-50d
 accorded the widest Scope consistent with the principles and            around the Subtracted area. In a preferred embodiment, each
 features described herein.                                              sub-dummy region 50a-50d is formed between one of the
    The present invention provides a software tool for dummy        15   edges of the object 52 and the corresponding edge of the
 metal filling of a chip design during the design phase. FIG.            current dummy region 50. Therefore, if the object 52 is
 1 is a block diagram illustrating a Software and hardware               located along one edge of the original dummy region 50,
 environment in which the present invention may be imple                 then only three sub-dummy regions 50a-50c will be created.
 mented. The dummy fill software application 12 is prefer                In step 208, the original dummy region 50 is removed from
 ably executed on a computer 14, which may be a WorkSta                  the dummy list and the new dummy regions 54 are inserted
 tion or a server. The dummy fill application 12 accesses a              into the list. The result of this process is a list of dummy
 design database 16, which includes information describing               regions 50 that represent free spaces in the tile suitable for
 all objects of a fully routed integrated circuit design, Such as        dummy metal.
 cells, interconnects, and Signal nets. In a preferred environ              According to the present invention, objects in the design
 ment, each layer of the chip is partitioned into tiles, each       25   database 16 representing wires on clock nets are treated
 equal in size to a process-specified tile-size. The design              specially. If it is determined in step 210 that the current
 database 16 also includes the minimum density requirement               object is a wire on a clock net, then in Step 212, the width
 for the tiles. The dummy fill application 12 is one of many             of the wire is Stored as a clock net width property of the
 design flow tools, and is primarily invoked after routing and           region 50 created by its outline. Also, the sub-dummy
 timing closure Stages of a design flow.                                 regions 50a-50c located immediately adjacent to the clock
    According to the present invention, the dummy fill appli             net wire are tagged with a clock net edge property as well as
 cation 12 inserts dummy metal into the chip design in a                 the clock net width property in step 214 So as to be
 manner that minimizes the timing impact to clock nets,                  identifiable later. The sub-dummy regions 50a-50c replace
 while the same time achieving the minimum density require               their parent (50) on the dummy list.
 ment in a Single run. The dummy fill application 12 operates       35      In step 216, it is determined if the current tile includes
 in two phases. In the first phase, referred to as the free-space        additional objects, and if So, the database traversal contin
 finding phase, the dummy fill application 12 Searches each               CS.
 layer of the chip design for empty Spaces Suitable for dummy               FIG. 4 is a diagram illustrating the properties Stored for
 metal insertion. These empty Spaces are referred to herein as           each tile after all the objects have been found. The properties
 dummy regions.                                                     40   include the dummy region list 60, the tile area 62, the
    In the Second phase, referred to as the dummy metal                  interconnect area 64, and the dummy metal area 66. Also
 insertion phase, the dummy fill application 12 inserts a                maintained for each clock net region is a timing factor 72,
 Sufficient amount of dummy metal into the dummy regions                 which is calculated during the Second phase. In addition,
 discovered in the first phase to meet the minimum density               Several properties may also be maintained for each of the
 requirement of each tile, but prior to doing So, prioritizes the   45   dummy regions 50 in the dummy region list 60 including a
 dummy regions Such that the dummy regions located adja                  clock net edge 70 property, which identifies the region as
 cent to clock nets are filled with dummy metal last. And, as            being adjacent to a clock net, and a clock net width 68
 further described below, the dummy regions adjacent to                  property, which identifies the width of the adjacent clock net
 wider clock nets are filled with dummy metal after dummy                wire.
 regions adjacent to narrower clock nets.                           50      Referring again to FIG. 2, according to one aspect of the
    By prioritizing the empty Spaces in this manner, the                 present invention, the dummy metal area 66 that needs to be
 minimum density requirements of the chip can be met, while              inserted to meet minimum density is calculated in Step 218
 minimizing negative impact to the clock nets because the                for the current tile is as follows:
 distance between the dummy metal and clock nets, espe
 cially the thicker, more important clock nets, is maximized.       55           Dummy Metal Area=(Minimum Density*Tile Area)
                                                                                     -Interconnect Area
    FIG. 2 is a flow diagram illustrating the process for
 inserting dummy metal into the chip design performed by                    In step 220, it is determined whether there are more tiles
 the dummy fill application 12 during the free Space finding             to process. If there are more tiles, the process continues.
 phase. The free Space finding phase begins in Step 200 by               Otherwise, the free Space finding phase is complete and the
 initializing a Series of properties for each tile, including a     60   dummy fill application 12 executes the dummy metal inser
 dummy region list, interconnect area, and dummy metal                   tion phase.
 area. The dummy regions are a list of free areas in the tile               FIG. 5 is a flow diagram illustrating the process per
 suitable for dummy metal. In a preferred embodiment, the                formed by the dummy fill application 12 during the dummy
 dummy region list for each tile is initialized with a single            metal insertion phase. The dummy metal insertion phase
 rectangle corresponding to the outline of the tile. The            65   begins in step 250 in which the timing factor 72 is calculated
 interconnect area property will be used to specify the total            for each dummy region 50 in the list 60 that has a clock net
 amount of interconnect area included in the tile, and the               width 68 property. The timing factor 72 attempts to capture
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                                                                 US 7,007,259 B2
                               S                                                                           6
 the timing criticality of a dummy region 50. In a clock tree,              performed Starting with the edge opposite the clock-net
 the width of a wire is indicative of its order in a hierarchy.             adjacent edge, using the clock net edge 70 property. FIG. 6
 A wide wire is likely to be Supplying current to more                      is a diagram showing the insertion of dummy metal in a
 branches than a thinner wire, and is therefore more timing                 clock-net adjacent dummy region, Starting with the edge
 critical.                                                                  opposite to the one identified by the clock net edge 70
    In a preferred embodiment, the timing factor 72 is calcu                property. According to this aspect of the present invention,
 lated using the formula:                                                   if the value for the dummy metal area 66 becomes negative
       Timing Factor=ClockNet Width:*Clock NetCriticality                   before the clock-net adjacent dummy region 50 is com
    According to one aspect of the present invention, the                   pletely filled, the spacing between the dummy metal 80 and
 clock net criticality is an integral value that the user can               the clock net wire 82 is the maximum possible.
 Specify to control the timing factor 72 assigned to the                       A dummy fill application 12 has been described that
 dummy regions. In a preferred embodiment, the criticality                  provides a simple and efficient method for dummy metal
 factor is assigned to the entire clock net and is inherited by             insertion that minimizes the timing impact to clock nets and
 all wires on that clock net. Also in a preferred embodiment,               at the same time guarantees reaching minimum density in a
 the clock net criticality values are Stored in the form of            15   Single pass.
 lookup table in file and provides the user control over                       The present invention has been described in accordance
 relative treatment of clock nets. More critical clock nets can             with the embodiments shown, and one of ordinary skill in
 be given higher values. In the absence of a user-specified                 the art will readily recognize that there could be variations
 value, the clock net criticality for a clock net is assigned               to the embodiments, and any variations would be within the
 Some default value, e.g., 1.                                               Spirit and Scope of the present invention. Accordingly, many
                                                                            modifications may be made by one of ordinary skill in the art
                                                                            without departing from the Spirit and Scope of the appended
                                                                            claims.
              The table below illustrates an example Clock Net                We claim:
                          Criticality Lookup table:                    25      1. A method for inserting dummy metal into a circuit
              Clock Nets                 Clock Net Criticality              design, the circuit design including a plurality of objects and
                                                                            clock nets, the method comprising:
             Clock Net A
             Clock Net B
                                                  2
                                                  3
                                                                              (a) identifying free spaces on each layer of the circuit
                                                                                 design Suitable for dummy metal insertion as dummy
                                                                                 regions, and
                                                                              (b) prioritizing the dummy regions Such that the dummy
   In a preferred embodiment, all dummy regions 50 not                           regions located adjacent to clock nets are filled with
 adjacent to a clock-net wire are assigned a Timing Factor of                    dummy metal last, thereby minimizing any timing
 O.                                                                              impact on the clock nets.
    Referring again to FIG. 5, after the timing factors 72 have        35     2. The method of claim 1 wherein step (b) further includes
 been calculated in step 252, the dummy region list 60 for                  the Step of prioritizing the dummy regions Such that the
 each tile is Sorted in ascending order of the timing factor 72.            dummy regions adjacent to wider clock nets are filled with
 According to the present invention, this establishes a pri                 dummy metal after dummy regions that are located adjacent
 oritization for the dummy regions 50 in which dummy                        to narrower clock nets.
 regions 50 adjacent to clock nets are placed on the list 60           40     3. The method of claim 2 further including the step of:
 after dummy regions 50 that are not adjacent to clock nets.                allowing a user to Specify a clock net criticality value for the
 Within the Sub-list of clock-net adjacent dummy regions 50,                clock nets.
 the dummy regions 50 adjacent to wider wires of a clock net                  4. The method of claim3 wherein step (b) further includes
 are listed after the dummy regions 50 adjacent to narrower                 the Step of in an absence of a user-specified clock net
 wires of the same clock net. Between two dummy regions 50             45   criticality value for any of the clock nets, assigning a default
 adjacent to clock net wires of the same width, the dummy                   value.
 region 50 that is adjacent to a net having a higher criticality              5. The method of claim 4 wherein step (b) further includes
 value is listed after the other.                                           the Step of prioritizing the dummy regions Such that
   After the Sorting, the dummy that application 12 in Step                 between two dummy regions located adjacent to clock net
 254, begins inserting dummy metal into the Sorted dummy               50   wires of the same width, the dummy region that is adjacent
 regions 50, starting with the first dummy region 50 on the                 to a clock net having a higher criticality value is filled with
 list. After each insertion, the inserted area is added to the              dummy metal after the other dummy region.
 interconnect area 64 property of the tile in step 256, and the               6. The method of claim 5 wherein step (b) further includes
 dummy metal area 66 for the tile is recalculated in step 258.              the Step of calculating a timing factor for each dummy
   This process is continued in step 260 until the dummy               55   region located adjacent to a clock net by multiplying a width
 metal area 66 becomes negative. Thereafter, the proceSS                    of the clock net wire by the clock net criticality value.
 continues with the next tile in step 262 until all tiles are                 7. The method of claim 6 wherein step (b) further includes
 processed.                                                                 the Step of assigning a timing factor value of 0 to all dummy
    In most cases, the value for the dummy metal area 66 will               regions not adjacent to a clock-net wire.
 become negative before traversal of the dummy region list             60      8. The method of claim 7 further including the step of:
 60 reaches the clock-net adjacent dummy regions 50. This                   maintaining a dummy region list for each tile in the design.
 means that in many cases, no dummy metal (or a minimal                       9. The method of claim 8 wherein step (b) further includes
 amount) is inserted in the clock-net adjacent dummy regions                the Step of Sorting the timing factors assigned to each of the
 50, thereby minimizing the timing impact to the adjacent                   dummy regions in the list in order to prioritize the dummy
 clock nets.                                                           65   regions in the tile.
   If metal insertion is required in any of the clock-net                     10. The method of claim 9 wherein step (b) further
 adjacent dummy regions 50, then the metal insertion may be                 includes the Step of inserting dummy metal into the dummy
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                                                         US 7,007,259 B2
                                 7                                                                          8
 regions Starting with the first dummy region on the list until          the dummy regions Such that between two dummy regions
 a minimum density requirement for the tile is met.                      located adjacent to clock net wires of the same width, the
   11. The method of claim 10 wherein step (b) further                   dummy region that is adjacent to a clock net having a higher
 includes the Step of: after each dummy metal insertion,                 criticality value is filled with dummy metal after the other
 adding the area of the inserted dummy metal to an inter                 dummy region.
 connect area property of the tile.                                         23. The computer-readable medium of claim 22 wherein
   12. The method of claim 11 wherein step (b) further                   instruction (b) further includes the instruction of: calculating
 includes the Step of calculating a dummy metal area that                a timing factor for each dummy region located adjacent to a
 needs to be inserted in the tile to meet a minimum density              clock net by multiplying a width of the clock net wire by the
 requirement as:                                                         clock net criticality value.
          Dummy Metal Area=(Minimum Density*Tile Area)                      24. The computer-readable medium of claim 23 wherein
                 -Interconnect Area.                                     instruction (b) further includes the instruction of assigning
                                                                         a timing factor value of 0 to all dummy regions not adjacent
    13. The method of claim 1 wherein step (a) further                   to a clock-net wire.
 includes the Step of initializing a dummy region list for each     15      25. The computer-readable medium of claim 24 further
 tile as a Single rectangle corresponding to the outline of the          including the instruction of maintaining a dummy region
 tile.
    14. The method of claim 13 wherein step (a) further                  list for each tile in the design.
 includes the Step of traversing a design database and for                  26. The computer-readable medium of claim 25 wherein
 each object found in the current tile, Subtracting an outline           instruction (b) further includes the instruction of Sorting the
 of the object from the dummy region on which it lies.                   timing factors assigned to each of the dummy regions in the
    15. The method of claim 14 wherein step (a) further                  list in order to prioritize the dummy regions in the tile.
 includes the Step of once an object is found interSecting a                27. The computer-readable medium of claim 26 wherein
 particular dummy region,                                                instruction (b) further includes the instruction of inserting
    (i) adding an area of the object to an interconnect area             dummy metal into the dummy regions Starting with the first
                                                                    25   dummy region on the list until a minimum density require
       property for the tile,                                            ment for the tile is met.
    (ii) partitioning the dummy region into Sub-dummy
         regions,                                                          28. The computer-readable medium of claim 27 wherein
    (iii) removing the dummy region from the dummy region                instruction (b) further includes the instruction of: after each
         list, and                                                       dummy metal insertion, adding an area of the inserted
    (iv) adding the Sub-dummy regions to the dummy region                dummy metal to an interconnect area property of the tile.
         list.                                                             29. The computer-readable medium of claim 28 wherein
    16. The method of claim 15 wherein step (a) further                  instruction (b) further includes the instruction of: calculating
 includes the Step of if a particular object is a wire on a clock        a dummy metal area that needs to be inserted in the tile to
 net, Storing a width of the wire as a clock net width property     35
                                                                         meet a minimum density requirement as:
 of the dummy region created by an outline of the object, and                  Dummy Metal Area=(Minimum Density*Tile Area)
 tagging an edge of each dummy region located immediately                             -Interconnect Area.
 adjacent to the clock net wire with a clock net edge property.            30. The computer-readable medium of claim 18 wherein
    17. The method of claim 16 wherein step (b) further                  instruction (a) further includes the instruction of initializing
 includes the Step of calculating a timing factor for each          40   a dummy region list for each tile as a single rectangle
 dummy region in the list that has a clock net width property,           corresponding to the outline of the tile.
 and Sorting the dummy regions based on the timing factors.
    18. A computer-readable medium containing program                      31. The computer-readable medium of claim 30 wherein
 instructions for inserting dummy metal into a circuit design,           instruction (a) further includes the instruction of: traversing
 the circuit design including a plurality of objects and clock      45
                                                                         a design database and for each object found in the current
 nets, the program instructions for:                                     tile, Subtracting an outline of the object from the dummy
    (a) identifying free spaces on each layer of the circuit             region on which it lies.
         design Suitable for dummy metal insertion as dummy                 32. The computer-readable medium of claim 31 wherein
         regions, and                                                    instruction (a) further includes the instruction of: once an
    (b) prioritizing the dummy regions Such that the dummy          50
                                                                         object is found interSecting a particular dummy region,
      regions located adjacent to clock nets are filled with               (i) adding an area of the object to an interconnect area
      dummy metal last, thereby minimizing any timing                         property for the tile,
      impact on the clock nets.                                            (ii) partitioning the dummy region into Sub-dummy
    19. The computer-readable medium of claim 18 wherein                      regions,
 instruction (b) further includes the instruction of prioritizing   55     (iii) removing the dummy region from the dummy region
 the dummy regions Such that the dummy regions adjacent to                    list, and
 wider clock nets are filled with dummy metal after dummy                  (iv) adding the Sub-dummy regions to the dummy region
 regions that are located adjacent to narrower clock nets.                    list.
    20. The computer-readable medium of claim 19 further                   33. The computer-readable medium of claim 32 wherein
 including the instruction of allowing a user to specify a          60   instruction (a) further includes the instruction of: if a par
 clock net criticality value for the clock nets.                         ticular object is a wire on a clock net, Storing an width of the
    21. The computer-readable medium of claim 20 wherein                 wire as a clock net width property of the dummy region
 instruction (b) further includes the instruction of in an               created by an outline of the object, and tagging an edge of
 absence of a user-specified clock net criticality value for any         each dummy region located immediately adjacent to the
 of the clock nets, assigning a default value.                      65   clock net wire with a clock net edge property.
   22. The computer-readable medium of claim 21 wherein                     34. The computer-readable medium of claim 33 wherein
 instruction (b) further includes the instruction of prioritizing        instruction (b) further includes the instruction of: calculating
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                                                      US 7,007,259 B2
                                9                                                             10
 a timing factor for each dummy region in the list that has a        (e) inserting dummy metal into the Sorted dummy regions
 clock net width property, and Sorting the dummy regions                Such that the dummy regions located adjacent to
 based on the timing factors.                                           increasingly wider clock nets are filled last, thereby
   35. A method for inserting dummy metal into a circuit                minimizing any timing impact on the clock nets.
 design, the circuit design including a plurality of objects and     36. The method at claim 35 wherein step (c) further
 clock nets, the method comprising:                                includes the Steps of assigning the timing factor based on
   (a) identifying free spaces on each layer of the circuit        the width of the adjacent clock net wire and a user-specified
      design Suitable for dummy metal insertion as dummy           timing criticality value assigned to the clock net.
      regions,
   (b) determining which of the dummy regions are located            37. The method of claim 36 wherein step (e) further
      adjacent to clock nets,                                      include the Step of inserting dummy metal into the Sorted
   (c) assigning a timing factor to each dummy region based        dummy regions one by one until a minimum density require
      on an width of an adjacent clock net wire;                   ment for a current tile is met.
   (d) Sorting the dummy regions based on the timing
      factors, and
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                 EXHIBIT B
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                                       BELL SEMICONDUCTOR LLC’S ANALYSIS OF INFRINGEMENT

                                                       U.S. Patent No. 7,007,259 – Qualcomm
                                                                  Exemplary Claim 1
        Bell Semiconductor (“Bell Semic”) provides evidence of infringement of exemplary claim 1of U.S. Patent No. 7,007,259 ( “the ’259 patent”)
the following claim chart.
        “Accused Products” as used herein refers to the QUALCOMM circuit designs and/or semiconductor products, including at least the
QUALCOMM SNAPDRAGON 865 TRANSCEIVER, that are made, produced, and/or processed by a design tool, such as a Cadence Design Systems,
Inc.(“Cadence”), Synopsys, Inc. (“Synopsys”), and/or Siemens Digital Industries Software (formerly Mentor Graphics) (“Siemens”) tool,1 by inserting
dummy metal into a circuit design where dummy regions are prioritized such that the dummy regions located adjacent to clock nets are filled with
dummy metal last. On information and belief, these design tools all function similarly with respect to the functionality described herein. For simplicity,
the Cadence tool will be the primary tool cited herein to illustrate infringement of the claimed methods. These claim charts demonstrate infringement
by comparing each element of the asserted claims to corresponding components, aspects, and/or features of the Accused Products. These claim charts
are not intended to constitute an expert report on infringement. These claim charts include information provided by way of example, and not by way
of limitation.
        The analysis set forth below is based only upon information from publicly available resources regarding the Accused Products, as QUALCOMM
and relevant third parties have not yet provided any non-public information. An analysis of non-public technical documentation may assist in further
identifying all infringing features and functionality. Accordingly, Bell Semic reserves the right to supplement this infringement analysis once such
information is made available to Bell Semic. Furthermore, Bell Semic reserves the right to revise this infringement analysis, as appropriate, upon
issuance of a court order construing any terms recited in the asserted claims or as other circumstances so merit.
        Bell Semic contends that each element of each claim asserted herein is literally met, and would also be met under the doctrine of equivalents,
as there are no substantial differences between the Accused Products and the elements of the patent claims in function, way, and result. If QUALCOMM
attempts to argue that there is no literal infringement and/or if QUALCOMM attempts to draw any distinction between the claimed functionality and
the Accused Products, then Bell Semic reserves the right to rebut the alleged distinction as a matter of literal infringement and/or as to whether any
such distinction is substantial under the doctrine of equivalents.
         Unless otherwise noted, the cited evidence applies across each of QUALCOMM’s products that were made, produced, or processed from a
circuit design using clock aware dummy fill, including but not limited to the QUALCOMM SNAPDRAGON 865 TRANSCEIVER. Bell Semic reserves
the right to amend this infringement analysis based on other products made, produced, or processed in the same or similar manner to that identified
herein.



       1
         Qualcomm is a customer of at least Cadence as demonstrated here:                               https://www.cadence.com/content/dam/cadence-
       www/global/en_US/documents/company/investors/4q16-conference-call-remarks.pdf;j.
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                                                         CLAIM CHARTS
                                                 CADENCE CUSTOMER QUALCOMM
                                                    U.S. Patent No. 7,007,259


              Claim 1                                                     Infringing Instrumentalities
1. A method for inserting dummy        To the extent the preamble is limiting, the Accused Products are made, produced, or processed
metal into a circuit design, the       by performing a method for inserting dummy metal into a circuit design, the circuit design
circuit design including a plurality   including a plurality of objects and clock nets.
of objects and clock nets, the
method comprising:                     The Accused Products are made, produced, or processed by design tools from at least one of
                                       Cadence, Synopsys, and Siemens to insert dummy metal into a circuit design, where the circuit
                                       design includes a plurality of objects and clock nets.




                                       See Innovus User Guide product version 20.10, March 2020, page 709.




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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See https://www.cadence.com/content/dam/cadence-
                www/global/en_US/documents/tools/digital-design-signoff/pegasus-tb.pdf , page 2.




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                                CLAIM CHARTS
                        CADENCE CUSTOMER QUALCOMM
                           U.S. Patent No. 7,007,259




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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See X.Dong; et. al., New Metal Fill Considerations For Nanometer Technologies, ASICON
                2005 (6th International Conf.), page 807.




                These same steps are carried out by Synopsys and Siemens :
                   1. See IC Compiler II Implementation User Guide , Version Q-2019.12-SP4, June 2020,
                       page 544.
                   2. See https://www.synopsys.com/content/dam/synopsys/implementation&signoff/white-
                       papers/icv_signoff_metalfill_wp.pdf , page 3.
                   3. See https://www.synopsys.com/content/dam/synopsys/implementation&signoff/white-
                       papers/icv_signoff_metalfill_wp.pdf , page 4.
                   4. See http://soiconsortium.eu/wp-content/uploads/2018/10/2017_0616_GF-Fill-Flows-
                       with-Calibre-DAC2017_v1.4-FINAL.pdf , page 11-13.




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                                                            CLAIM CHARTS
                                                  CADENCE CUSTOMER QUALCOMM
                                                       U.S. Patent No. 7,007,259
                                       For example, Qualcomm creates a circuit design for the QUALCOMM SNAPDRAGON 865
                                       TRANSCEIVER , which was made, produced, or processed from that circuit design created
                                       using one of the above-identified and described design tools to insert dummy metal into a circuit
                                       design, where the circuit design includes a plurality of objects and clock nets. As shown below,
                                       the QUALCOMM SNAPDRAGON 865 TRANSCEIVER includes a plurality of objects,
                                       dummy metal identified by the blue arrow, and a clock net identified by the green arrow.




(a) identifying free spaces on each    The Accused Products are made, produced, or processed from a circuit design that identifies
layer of the circuit design suitable   free spaces on each layer of the circuit design suitable for dummy metal insertion as dummy
for dummy metal insertion as           regions.
dummy regions; and


                                       See Innovus User Guide product version 20.10, March 2020, page 705.


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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See Innovus User Guide product version 20.10, March 2020, page 709.

                Pegasus Verification’s Incremental Metal Fill/Incremental Quantus Extraction’s RC
                Extraction




                See https://www.cadence.com/content/dam/cadence-
                www/global/en_US/documents/tools/digital-design-signoff/pegasus-tb.pdf , page 4.


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                                CLAIM CHARTS
                        CADENCE CUSTOMER QUALCOMM
                           U.S. Patent No. 7,007,259




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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See X.Dong; et. al., New Metal Fill Considerations For Nanometer Technologies, ASICON
                2005 (6th International Conf.), page 805.




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                                CLAIM CHARTS
                        CADENCE CUSTOMER QUALCOMM
                           U.S. Patent No. 7,007,259




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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See X.Dong; et. al., New Metal Fill Considerations For Nanometer Technologies, ASICON
                2005 (6th International Conf.), page 807.




                These same steps are carried out by Synopsys:
                   1. See IC Compiler II Implementation User Guide , Version Q-2019.12-SP4, June 2020,
                       page 544-545.
                   2. See https://www.eetimes.com/in-design-metal-fill-key-to-physical-verification-
                       turnaround-time-for-advanced-ic-designs/

                These same steps are carried out by Siemens:
                See http://soiconsortium.eu/wp-content/uploads/2018/10/2017_0616_GF-Fill-Flows-with-
                Calibre-DAC2017_v1.4-FINAL.pdf , page 11-13.


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                                   CLAIM CHARTS
                           CADENCE CUSTOMER QUALCOMM
                              U.S. Patent No. 7,007,259

                For example, Qualcomm creates a circuit design for the QUALCOMM SNAPDRAGON 865
                TRANSCEIVER, which was made, produced, or processed from that circuit design created
                using one of the above-identified and described design tools such that free spaces are identified
                on each layer of the circuit design suitable for dummy metal insertion as dummy regions. As
                shown below and as explained by semiconductor expert Lloyd Linder (“Linder”) in Exhibit C
                cited herein, in the QUALCOMM SNAPDRAGON 865 TRANSCEIVER the placement of
                dummy fill first requires the identification of locations suitable to receive the fill. See Ex. C at
                ¶¶ 35, 57–60, 62. These locations are identified by the green arrow.




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                                                         CLAIM CHARTS
                                              CADENCE CUSTOMER QUALCOMM
                                                   U.S. Patent No. 7,007,259
(b) prioritizing the dummy regions   The Accused Products are made, produced, or processed from a circuit design that prioritizes
such that the dummy regions          the dummy regions such that the dummy regions located adjacent to clock nets are filled with
located adjacent to clock nets are   dummy metal last, thereby minimizing any timing impact on the clock nets.
filled with dummy metal last,
thereby minimizing any timing
impact on the clock nets.




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                                   CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                              U.S. Patent No. 7,007,259
                See Innovus User Guide product version 20.10, March 2020, page 709-710.




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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See X.Dong; et. al., New Metal Fill Considerations For Nanometer Technologies, ASICON
                2005 (6th International Conf.), page 805.




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                                  CLAIM CHARTS
                          CADENCE CUSTOMER QUALCOMM
                             U.S. Patent No. 7,007,259




                See https://www.cadence.com/content/dam/cadence-
                www/global/en_US/documents/tools/digital-design-signoff/pegasus-tb.pdf , page 3.

                These same steps are carried out by Synopsys:
                   1. See IC Compiler II Implementation User Guide , Version Q-2019.12-SP4, June 2020,
                       page 544-546
                   2. See https://www.synopsys.com/content/dam/synopsys/implementation&signoff/white-
                       papers/icv_signoff_metalfill_wp.pdf , page 4

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                                   CLAIM CHARTS
                         CADENCE CUSTOMER QUALCOMM
                              U.S. Patent No. 7,007,259
                   3. See https://www.eetimes.com/in-design-metal-fill-key-to-physical-verification-
                      turnaround-time-for-advanced-ic-designs/

                These same steps are carried out by Siemens:
                   1. See http://soiconsortium.eu/wp-content/uploads/2018/10/2017_0616_GF-Fill-Flows-
                       with-Calibre-DAC2017_v1.4-FINAL.pdf , page 11-13.

                For example, Qualcomm creates a circuit design for the QUALCOMM SNAPDRAGON 865
                TRANSCEIVER , which was made, produced, or processed from that circuit design created
                using one of the above-identified and described design tools to prioritize the dummy regions
                using “cost” such that the dummy regions located adjacent to clock nets are filled with
                dummy metal last because they are assigned a “high cost” compared to other regions that are
                assigned lower “cost.” The prioritization of clock nets such that adjacent dummy regions are
                filled with dummy metal last is apparent from visual inspection of the integrated circuit
                layers, as shown below. See Ex. C at ¶¶ 35, 57–60, 67–68. The QUALCOMM
                SNAPDRAGON 865 TRANSCEIVER includes a clock net identified by the green arrow and
                dummy metal identified by the blue arrow. This minimizes any timing impact on the clock
                nets.




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                                                           CLAIM CHARTS
                                                   CADENCE CUSTOMER QUALCOMM
                                                      U.S. Patent No. 7,007,259




Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any
manner. For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the
relevant reference(s), as appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct
the same.




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                  EXHIBIT C
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 1
   Seth W. Wiener (SBN 203747)
 2 seth@sethwienerlaw.com
   LAW OFFICES OF SETH WIENER
 3 609 Karina Court
   San Ramon, CA 94582
 4 Telephone: (925) 487-5607
 5 Timothy Devlin
   DEVLIN LAW FIRM LLC
 6 1526 Gilpin Avenue
   Wilmington, Delaware 19806
 7 Telephone: (302) 449–9010
   Facsimile: (302) 353–4251
 8
   David Sochia
 9 Texas State Bar No. 00797470
   dsochia@McKoolSmith.com
10 Ashley N. Moore
   Texas State Bar No. 24074748
11 amoore@McKoolSmith.com
   Richard A. Kamprath
12 Texas State Bar No. 24078767
   rkamprath@McKoolSmith.com
13 Alexandra Easley
   Texas State Bar No. 24099022
14 aeasley@McKoolSmith.com
   MCKOOL SMITH, P.C.
15 300 Crescent Court Suite 1500
   Dallas, TX 75201
16 *Pro Hac Applications forthcoming
17 Attorneys for Plaintiff
18                   IN THE UNITED STATES DISTRICT COURT
19                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
20    BELL SEMICONDUCTOR, LLC
21                                          Case No. '22CV595 TWR MSB
                       Plaintiff,
22          v.                              DECLARATION OF LLOYD F.
23                                          LINDER
      QUALCOMM INC. and
24    QUALCOMM TECHNOLOGIES,
25    INC.                                  DEMAND FOR JURY TRIAL

26                     Defendants.
27
28
       DECLARATION OF LLOYD F. LINDER
     Case 3:22-cv-00595-TWR-MSB Document 1 Filed 04/27/22 PageID.50 Page 50 of 87




 1         1.    I make this declaration on behalf of Bell Semiconductor, LLC (“Bell
 2 Semic”). I understand that Bell Semic will offer my declaration as evidence in
 3 support of the above-captioned patent infringement lawsuit against Qualcomm Inc.
 4 and Qualcomm Technologies, Inc. (collectively “Qualcomm”).
 5         2.    My qualifications to testify concerning the relevant technology are set
 6 forth in my curriculum vitae, which is attached hereto as Exhibit 1.
 7         3.    I received my Bachelor of Science degree in Electrical Engineering
 8 (BSEE) from UCLA in 1985. I received my Master of Science degree in Electrical
 9 Engineering (MSEE), also from UCLA, in 1987. Thereafter, I continued studying
10 Electrical Engineering at USC, where I received an Engineer’s Degree in 1989 and
11 researched and completed my thesis towards a doctoral degree in 2002. Following
12 the completion of my BSEE, I began work at Hughes Aircraft, for 12 years.
13         4.    When Hughes Aircraft was acquired by Raytheon in 1997, my title
14 was “Senior Scientist.” At Hughes Aircraft, I was the technical lead for
15 RF/analog/mixed signal IC development and was a subject matter expert (SME) in
16 integrated circuits, serving as a company-wide resource for review of integrated
17 circuit designs and technical support of new business.
18         5.    My next position was as an Engineering Fellow at Raytheon from
19 1997–2002, where I again was the technical lead for RF/analog/mixed signal IC
20 development and was a subject matter expert (SME) in integrated circuits, serving
21 as a company-wide resource for review of integrated circuit designs and technical
22 support of new business.
23         6.    In February 2002, I began a role as Director of Technology at
24 TelASIC Communications, a company that I also founded. In this role, I served as
25 the technical lead for the development of state-of-the-art ADC (analog-to-digital
26 converter) and DAC (digital-to-analog converter) commercial products for the
27 cellular base station market.
28
                                           -1-
       DECLARATION OF LLOYD F. LINDER
     Case 3:22-cv-00595-TWR-MSB Document 1 Filed 04/27/22 PageID.51 Page 51 of 87




 1         7.    In 2006, I began working under “Lloyd Linder Consulting” as an
 2 Independent Integrated Circuit Design, Systems, Intellectual Property, and
 3 Wireless Consultant, a role that continues to this day. In this role, I have served as
 4 a consultant to over 100 companies in the commercial and military contractor
 5 semiconductor component market space and have served as an expert witness in
 6 semiconductor cases and invalidity analyses.
 7         8.    From 2008–2009, overlapping with my consulting, I took a position at
 8 Menara Networks for approximately 10 months, where I was involved with the
 9 development of an electronic dispersion compensation (EDC) IC and the
10 development of quad transceiver for next-generation 10 Gb/s ASICs with
11 integrated FEC / EFEC in CMOS.
12         9.    I have received various honors over the course of my education and
13 career. In 1985, I was named UCLA’s most outstanding senior electrical
14 engineering student, graduating Phi Beta Kappa and Summa Cum Laude. I am an
15 IEEE Senior Member and served as a Judge for the San Fernando Valley Section
16 Entrepreneurial Business Plan Competition in 2008. I am a named inventor on
17 over 100 issued United States Patents (with several currently pending) and over
18 300 international patents, and have published over a dozen journal and conference
19 papers focusing on semiconductor design and layout. I am a two-time Hughes
20 Aircraft Division Patent Award Winner, and was named by Hughes as a Masters
21 Fellow, Engineers Fellow, and Doctoral Fellow.
22         10.   I have reviewed U.S. Patent No. 7,007,259 to Shrowty (“Shrowty
23 ’259) asserted in the Complaint, and its file history (in which the Patent Office
24 allowed the application as-filed on the first office action), and the claim charts
25 accompanying the Complaint supported by this Declaration.
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                                            -2-
       DECLARATION OF LLOYD F. LINDER
     Case 3:22-cv-00595-TWR-MSB Document 1 Filed 04/27/22 PageID.52 Page 52 of 87




 1         11.   My college education over 15 years and 35 years of knowledge and
 2 experience in integrated circuit design, layout, and fabrication provides the
 3 necessary experience to support my stated conclusions set forth below.
 4
   Background on Integrated Circuit Design and Layout Process Flow
 5       12. I have created the image below, which provides a simplified
 6 schematic showing, at a high level, a commonly-used integrated circuit design flow
   process that is representative of many (if not most) process flows in current use:
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       DECLARATION OF LLOYD F. LINDER
     Case 3:22-cv-00595-TWR-MSB Document 1 Filed 04/27/22 PageID.53 Page 53 of 87




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       DECLARATION OF LLOYD F. LINDER
     Case 3:22-cv-00595-TWR-MSB Document 1 Filed 04/27/22 PageID.54 Page 54 of 87




 1               13.      The integrated circuit design flow process includes a design engineer,
 2 using design tools, to create a design for an integrated circuit to be processed.
 3               14.      Design tools from vendors such as Cadence, Synopsys, or
 4 MentorGraphics (now Siemens) will then be used to design, simulate, and lay out
 5 integrated circuits. The typical design tool suite includes1 schematic capture,
 6 simulation, layout, verification (layout versus schematic (LVS) and design rule
 7 check (DRC)), and fill generation routines. These fill routines can be automated or
 8 manual, and can be provided by the design tool company in whole or in part.
 9               15.      To be sure, the precise capabilities of each design tool available to a
10 particular design engineer may differ within a company (based on what options in
11 the design suite are available to a particular user or on a particular device), and
12 between different design tool suites. However, based on my experience, at a high
13 level, the design tools used by design engineers in the semiconductor industry, all
14 operate in substantially similar fashion for schematic capture, simulation, layout,
15 verification, design rule check, and fill-generation. In particular, based on my
16 experience as a consultant, the design tools commonly used in the industry to place
17 dummy fill operate in substantially similar fashion in providing timing-aware fill
18 generation for integrated circuit layouts.
19               16.      In the design process, the schematic is created first. The layout design
20 tool is used to place and route all of the active (i.e., transistors) and passive
21 components (i.e., resistors, capacitors, and inductors), and the interconnections
22 between devices (represented as wires) in the schematic. It represents the circuit
23 function that is to be physically implemented in the silicon. The schematic is
24 created and simulated, using the CAD tools, to confirm that the circuit functions to
25 a desired specification.
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27        Sometimes electrical rule check (ERC) is also included in design tool suite capabilities.

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 1         17.   Once that performance specification is confirmed from the schematic
 2 simulation, the layout of the circuit is performed to physically place each of the
 3 individual elements necessary to implement the circuit functions set forth in the
 4 schematic. During layout, layout rules for active and passive devices must be
 5 followed, but conformance is not checked until a DRC is run (typically at least as
 6 part of the final verification, though it can be run at any point or points in the
 7 layout process).
 8         18.   Once the layout is completed, it is compared to the schematic of the
 9 circuit using layout-versus-schematic (LVS) tool to confirm that the two are
10 identical. From the schematic, a netlist (a list of devices and the associated nodes)
11 is generated. From the netlist, the schematic could be re-generated by hand by
12 drawing the devices and connecting the device nodes. From the layout of devices
13 and associated nodes, a corresponding netlist is generated, from which a similar
14 schematic could be generated by hand by drawing the devices and connecting the
15 device nodes from the layout netlist. Then the schematic netlist is compared to the
16 layout netlist using the LVS tool. The LVS tool compares the netlist from the
17 schematic to the netlist for the layout to see if they match—i.e., whether they
18 contain the same devices connected in the same fashion. If they do not match, the
19 discrepancies between the two must be found and corrected, and LVS re-run. Any
20 violations of layout rules must be corrected and DRC re-run for the layout.
21         19.   After passing LVS, the process of performing parasitic extraction
22 simulations before the fill has been placed (pre-fill) can be performed on an
23 extracted netlist created from the layout. If parasitic simulations are performed
24 prior to the fill placement, the designer can get an idea of the impact on circuit
25 performance from the basic layout parasitics pre-fill. From the layout, a netlist is
26 extracted that includes any of parasitic resistance (R), parasitic inductance (L),
27 parasitic capacitance (C), or any combination of the three. Additionally, the
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 1 parasitic extraction can include what is termed “coupled” capacitance (parasitic
 2 capacitance between metal lines) as well as the parasitic capacitance to the
 3 substrate. The extracted netlist, with the selected added parasitics, can be used to
 4 run simulations on the baseline layout to determine if there is any performance
 5 degradation due to the baseline layout routing.
 6         20.    The simulated performance of the layout, which includes the
 7 parasitics, needs to be as close as possible to the specification that was already
 8 satisfied by the schematic. That is why parasitic extraction is performed, and why
 9 it is iterated pre-fill and post-fill. So if there is performance degradation due to the
10 baseline layout, the layout is redone until its performance is at acceptable
11 parameters. Ideally, the extracted simulation results match the schematic
12 simulation results, which means that the layout parasitics had no impact on the
13 circuit performance.
14         21.    Once the layout passes pre-fill, the design tool is used to insert
15 dummy fill at appropriate locations in the layout that do not contain devices or
16 other features. As is well-known in the industry, the purpose of adding dummy fill
17 is to achieve a higher and more uniform density of interconnect across the surface
18 of each layer of the chip, to improve the outcomes of the chemical-mechanical
19 polishing/planarization (CMP) step during fabrication. This lowers the likelihood
20 of defects caused by the CMP process step and thus improves the yield of modern
21 integrated circuits.
22         22.    As the pre-fill step confirms that parasitics of the baseline layout, pre-
23 fill, do not degrade the performance of the integrated circuit, it is desirable that the
24 fill likewise does not degrade performance. However, depending on its placement,
25 dummy fill can also degrade the performance of the integrated circuit, which is
26 undesirable. To minimize this, the design suites include timing-aware fill tools
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 1 that minimize, if not prevent, any degradation to circuit performance caused by
 2 dummy fill insertion.
 3         23.    Based on my experience, use of such timing-aware fill tools has
 4 become standard practice in designing modern integrated circuits. In fact, modern
 5 integrated circuit designs are required to have fill included as part of the database
 6 submitted for fabrication. Due to the complicated nature of these designs, such as
 7 SoCs and highly integrated circuits with many layers, the fill process cannot be
 8 manual at least for the practical reason of there being far too many locations to
 9 designate by hand for fill insertion. Moreover, the chip has many critical nets, so
10 there is a need for the fill-placement to be aware of any impact on the timing and
11 resulting performance impact of the circuit. Timing-aware fill tools are used to
12 attempt to meet interconnect density and timing closure requirements
13 simultaneously, but they are not guaranteed to do so 100% of the time. When this
14 occurs, a decision must be made to compromise performance at the expense of
15 yield, or vice-versa.
16         24.    Once the fill routine is completed, the fill checks are done, and final
17 verification is performed again (LVS, DRC). The fill checks are performed based
18 on percentage requirement on a specified area in the layout.
19         25.    Once the layout database has been verified, it is sent for fabrication in
20 the form of a Graphic Design System (GDSII) database, which is the industry
21 standard format for delivery of the chip database. As previously mentioned, fill is
22 required to be included as part of the GDSII database.
23         26.    The design resource is provided with a process design kit (PDK),
24 which includes all of the information necessary to capture a schematic, run a
25 simulation, do a layout, and perform all of the checks on the layout to make sure
26 that the final GDSII is in an acceptable form to be ready for fabrication. It is the
27 design resource / customer’s responsibility to make sure that the designed chip
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 1 meets all of the expected requirements for fabrication and bears the risk of failing
 2 to follow any steps in the design flow. For example, if the circuit does not work,
 3 that is the customer’s responsibility. If the layout does not match the schematic,
 4 that is the customer’s responsibility. The GDSII does have to meet all of the DRCs
 5 in order to be fabricated.
 6         27.      In order to develop an integrated chip product, tools are needed to
 7 develop the schematic, the layout, verification of the layout, and the final GDSII
 8 database for fabrication. Many companies use different tools (from different
 9 vendors) to accomplish this process either typically due to cost or preference of
10 internal proprietary tools. Regardless of the process and specific tools that are
11 used, the GDSII database goes through an internal DRC after it is received and
12 before fabrication of the integrated chip:
13               a. The design resource receives a PDK that contains all of the
14                  information is included to create a GDS database to release for
15                  fabrication. This includes circuit symbols for the creation of the
16                  schematic, models for the circuit symbols to run simulation, and
17                  associated layout devices that have been created with all of the
18                  process layers needed.
19               b. Additionally, there are what are known as “rule decks” in the PDK
20                  that allow for LVS and DRC. A rule deck is typically a file that
21                  specifies all of the available rules, (for example, minimum line width),
22                  the layers to process on each rule, and the parameters of each rule.
23                  The LVS deck compares the schematic to the layout, and the DRC
24                  deck covers all of the design rules for placing and routing devices. For
25                  LVS, a netlist of the layout is created. This netlist is compared to a
26                  netlist created for the schematic. The LVS tool compares the two to
27                  determine if they match or not.
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 1                  c. Additionally, there is a parasitic extraction deck that extracts all of the
 2                     parasitics of the layout that is used to run simulations to close timing
 3                     or to confirm that the layout still meets all of the chip requirements.
 4                  d. There can also be an electrical rule check (ERC) deck as well,
 5                     depending on the fabrication involved.
 6            28.      If the DRC rules at pre-fabrication do not match those at the design
 7 resource, it is possible that there will be DRC errors. This could be due to a number
 8 of reasons, including the DRC in the provided process design kit (PDK) is not up to
 9 date, and so the PDK will be updated with the updated DRC and the design resource
10 will have to redo everything and fix the DRC errors, providing a new GDSII database
11 before fabrication can begin. These DRC checks at pre-fabrication will include
12 checks for the fill on all layers to confirm that the fill requirement is met, on a
13 granular level, for all “boxes” at the chip boundary level.
14 Dummy Fill is Required in Design and Layout of Multi-Layer Semiconductor
15 Chips
16            29.      To the best of my knowledge, adding dummy fill is a requirement for every integrated

17    circuit using the latest technology nodes. Certain older nodes still in fabrication (>350nm) may not

18    require fill, but I believe that even some of these older technology nodes have incorporated fill

19    requirement to enhance yield.

20            30.      As mentioned above, it is required that the GDS database include fill within the

21    database submitted for fabrication. In particular, most fabrication processes used in modern

22    semiconductor chip designs require a minimum density for the interconnects (i.e., pieces of metal or

23    semiconductor) placed on each layer of a multi-layer chip design. This is the case both for the layer as a

24    whole and for individual subunits of each layer, and is fundamental to the creation of consistent

25    fabrication of multi-layer devices with minimal defects.

26            31.      Fabrication processes typically partition each layer of the chip design into rectangular

27    regions called tiles, each of which must also meet a minimum density requirement. For any given region

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 1    of the chip, the interconnect density is the area of all of the interconnect in that region divided by the

 2    total area of that region.

 3            32.      Sufficient interconnect density and substantial uniformity of interconnect are required

 4    for the chemical mechanical polishing (CMP) portion of the chip fabrication process. CMP is crucial to

 5    achieve planarity, which allows for multi-layer chip designs and high yield of functional devices.

 6    Insufficient interconnect density and/or insufficient uniformity of interconnect between various regions

 7    will increase the likelihood of defects during the chip manufacturing process, which will resultantly

 8    degrade the yield.

 9            33.      Once the functional features of the chip design (such as power lines, signal nets, vias,

10    and the like) have been laid out as needed in the first instance, there will usually be substantial portions

11    of the chip design that have insufficient interconnect density to permit CMP without incurring

12    substantial likelihood of defects.

13            34.      To increase the interconnect density of the layer as a whole, and of regions within each

14    layer, pieces of interconnect are inserted into available space in low-density regions of the chip until the

15    minimum interconnect density specified for the particular fabrication process is achieved for each tile.

16    Because these pieces of interconnect are not intended to carry signal or power, but instead are added to

17    provide structural stability to the chip architecture, they are generally known as “dummy fill.”

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            35.    Placement of dummy fill is typically performed by a dummy fill
11
      software tool, and is one of the last steps in the chip design flow, with its extent
12
      and placement typically occurring after routing and timing closure. The dummy
13
      fill software tool examines the tiles in each layer of the design, and if the
14
      interconnect density in each tile does not meet (or exceed) the specified minimum
15
      interconnect density for the fabrication process, the dummy fill tool inserts dummy
16
      fill into free regions of that tile where no interconnect is present.
17
            36.    For large integrated circuits, commonly called system-on-a-chip
18
      (SoC) with either large analog content and small digital content (“big A, little D”)
19
      or large digital content and small analog content (“big D, little A”), it is not
20
      practical to manually add dummy fill, so automated fill routines are almost always
21
      used. Because there are so many critical signals in a large SoC, the process cannot
22
      be done manually due to the time it would require. Thus, the design timelines and
23
      practical realities require that the automated fill routines are used instead.
24
            37.    However, placing the dummy fill too close to signal nets increases
25
      capacitance between the signal wires and the dummy fill, which in turn slows the
26
      transmission speed of signals and degrades the overall performance of the
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 1 integrated circuit. This effect is undesirable and is known as “parasitic
 2 capacitance.”
 3         38.   The added parasitic capacitance will degrade parameters, such as
 4 operating frequency and rise/fall time, for a critical clock or signal, and this must
 5 be avoided in order for the circuitry to work properly.
 6         39.   The parasitic capacitance is inversely proportional to the distance
 7 between the dummy fill and the signal wire. Thus, parasitic capacitance from
 8 dummy fill will be minimized if the dummy fill is placed far from signal nets.
 9         40.   Prior to Shrowty ’259, the traditional solution to minimizing the
10 parasitic capacitance effect of dummy fill was the “simplistic approach” of
11 hardcoding a large “stay-away” distance from crucial signal nets, essentially
12 establishing a defined “exclusion zone” (or “keep-out area”), essentially a “moat”
13 around those circuit elements that would be designated categorically unsuitable to
14 receive dummy fill when the dummy fill software tool was utilized. The distance
15 was typically derived empirically for each design by studying the effect on timing
16 from dummy fill inserted at various distances from clock nets in sample designs
17 and was then manually hardcoded in the dummy fill libraries for each type of
18 process technology.
19         41.   The result of using these keep-out zones was that potentially the chip
20 would have poor yield. Since this was a manual time-consuming process, with
21 limited time available, the result would typically be that the fill requirements could
22 possibly not be met, and a waiver would be requested before fabrication would
23 begin, with any resulting yield degradation being accepted by the customer..
24         42.   By excluding dummy fill from being placed within a certain distance
25 of crucial signal nets, its parasitic capacitance can be bounded below a particular
26 value and its effect on circuit timing can be minimized. However, hard-coding a
27 large “stay-away” distance between dummy fill and signal nets, creating a region
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 1 in which dummy fill cannot be placed, will also reduce the space available for
 2 dummy fill insertion and thus limit the overall interconnect density that can be
 3 achieved.
 4         43.   In other words, the higher the required interconnect density, the closer
 5 it must be placed to signal nets, with increasingly higher parasitic capacitance and
 6 negative impact on timing and circuit performance. Conversely, the more sensitive
 7 the timing requirements for the circuit, the less the parasitic capacitance can be
 8 tolerated near crucial signal nets and the lower the interconnect density can be for
 9 tiles that include such signal nets. This tradeoff is further complicated when
10 multiple metal layers are involved, which can be ten or even more.
11         44.   It may be that the timing requirements cannot be met without a
12 revision to the fill placement and re-extraction of the layout parasitics to determine
13 if the timing requirements are met. If they are not, then a decision would have to be
14 made to continue the iteration process or apply for a waiver and bear the risk of
15 lower yield, or accept decreased performance
16         45.   Balancing this tradeoff started to become particularly problematic by
17 the early 2000s, as new processing technologies with smaller and smaller features
18 demanded increasingly higher minimum interconnect density values at the same
19 time that chip designs became much more aggressive in the circuit timing
20 requirements. In such cases, it was often impossible to insert sufficient dummy fill
21 into a tile such that the higher minimum density requirements could be met without
22 also reducing the large “stay-away” distance, and thereby raising the timing impact
23 of the dummy fill to levels that affected the performance of the chip. One potential
24 solution was for the chip designer to waive the minimum interconnect density
25 specified by a particular fabrication process. However, because invoking this
26 waiver would not comply with the fabrication process requirements, the yield of
27 the produced devices would not be guaranteed in such cases, which rendered this
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 1 alternative not viable in practice.
 2         46.   Traditional dummy fill software tools of that time often completed
 3 their run through the tiles of each layer without reaching minimum interconnect
 4 density in some cases. In such cases, it would be necessary to re-run the dummy
 5 fill tool for those problematic tiles with a lowered “stay-away” distance. If, as
 6 frequently occurred, more than one such tile lacked sufficient interconnect density
 7 and required (at least) a second run of the dummy fill tool with the revised “stay-
 8 away” distance parameters, multiple runs could be needed if, as was typical, the
 9 dummy fill tool could only handle one tile at a time.
10         47.   This iterative process, with manual adjustments of the “stay-away”
11 distance and requiring multiple runs for each such affected tile was an involved,
12 time-consuming process that can and did significantly impact design schedules.
13 Explanation of Shrowty ’259
14         48.   Thus, multiple iterations of manually adjusting the “stay-away”
15 distance in each tile were, prior to Shrowty ’259, typically required to meet design
16 demands and process requirements for dummy fill insertion of newer chip designs
17 in an involved, time-consuming, and ad hoc fashion.
18         49.   In place of this methodology, Shrowty ’259 teaches a dynamic
19 method of placing dummy fill that, in a single run, achieves the required minimum
20 interconnect density while simultaneously minimizing the negative timing impact
21 of the inserted dummy fill on clock nets. (Shrowty ’259 at 2:19–23.) This avoids
22 delays to the design schedule that would likely result from the use of traditional
23 methods of dummy fill insertion in designs with high interconnect density
24 requirements and demanding timing tolerances and produces improvements in the
25 IC design process flow as well as reducing the design time required to complete a
26 design.
27         50.   Shrowty ’259 explains that to solve this problem, free spaces on each
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 1 layer of the chip suitable for dummy metal insertion (known as “dummy regions”)
 2 are first identified on each layer of the chip design suitable for dummy fill, known
 3 as the “free-space finding” phase. (2:29–32 & Fig. 2.) Thereafter, the dummy
 4 regions are prioritized such that those adjacent to clock nets are filled with dummy
 5 metal last until the minimum density requirement is met, in the second or “dummy
 6 metal insertion” phase. (2:32–43 & Fig. 5.) In some embodiments, the dummy
 7 regions are further prioritized such that those adjacent to wider clock nets are filled
 8 with dummy metal after regions that are located adjacent to narrower clock nets.
 9 (2:35–38.)
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23         51.   Shrowty ’259 also teaches that when an existing object intersects a
24 dummy region, its area is added to the interconnect area property for the region,
25 and it may be partitioned into up to four sub-dummy regions around the subtracted
26 area, with the newly-created sub-dummy regions replacing the originally-
27 designated dummy region in the list of areas in the tile suitable for dummy fill
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 1 insertion. (4:7–23 & Fig. 3.)
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14         52.    Shrowty ’259 explains that, as a result, minimal dummy fill (if any) is
15 inserted into clock net-adjacent dummy regions, thereby minimizing the timing
16 impact to the adjacent clock nets. (2:43–47.) As would have been clear to a
17 POSITA, this would improve the performance of the resulting integrated circuit
18 both in terms of minimizing the likelihood of manufacturing defects arising from
19 CMP and minimizing the negative impact of parasitic capacitance on timing and
20 transmission speed.
21         53.    The minimization of timing impact on clock nets from dummy fill as
22 taught by Shrowty ’259 is expressly recited in every claim of Shrowty ’259.
23 Specifically, it is recited in every independent claim, i.e., in element (b) of
24 independent claims 1 and 18, and in element (e) of independent claim 35. Thus, it
25 also applies to all of their dependent claims as well.
26         54.    I have also reviewed the prosecution history of Shrowty ’259, which
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 1 the USPTO allowed on the first office action. The Examiner’s Notice of
 2 Allowance recognized that the prior art, whether alone or in combination, did not
 3 disclose or suggest that dummy regions are prioritized such that those located
 4 adjacent to clock nets are filled with dummy metal last, nor that those adjacent to
 5 increasingly wider clock nets are filled last. Based on my experience in
 6 semiconductor layout and design, as set forth above, I agree with the Examiner’s
 7 characterization of the contents of the prior art in the Notice of Allowance.
 8         55.    Moreover, based on my experience in semiconductor layout and
 9 design, it was not well-understood, routine, or conventional at the time of Shrowty
10 ’259 to fill dummy regions located adjacent to clock nets last, in a dynamic
11 fashion. As both the Examiner and Shrowty ’259 recognized, the conventional
12 methodology at the time was to hardcode a fixed “stay-away” distance from or
13 “exclusion zone” surrounding clock nets, and, if necessary, to manually adjust that
14 for individual tiles that failed to meet the minimum interconnect density
15 requirements for a particular process. Based on my experience in semiconductor
16 layout and design, I agree that the claimed inventions of Shrowty ’259 were not, to
17 the best of my knowledge, well-understood, routine, or conventional activity at the
18 time of Shrowty ’259. This is true not only in an ordered combination of the
19 elements, but also as an individual claim element.In particular, the de-prioritization
20 of tiles adjacent to clock nets as locations suitable for dummy fill, as recited in
21 element (b) of claims 1 and 18 and element (e) of claim 35, was not, to the best of
22 my knowledge, well-understood, routine, or conventional activity at the time of
23 Shrowty ’259, either on its own or in an ordered combination with the other
24 elements of the independent claims.
25 Claim Charts
26         56.    I have reviewed the Complaint supported by this Declaration, along
27 with the Claim Chart (Exhibit B) showing infringement of Shrowty ’259 by
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 1 Qualcomm For the reasons set forth below, I agree that this Claim Chart
 2 establishes use of at least one of the methods recited by the claims of Shrowty
 3 ’259.
 4         57.   I have used design tools from different vendors in my career. As a
 5 consultant, I use the tools to review schematics and layouts. Based on the
 6 requirements for the latest process technology nodes, and the yield requirements
 7 for these technologies, the latest fill tools are used by designers use timing-aware
 8 fill routines to meet timing as well as yield requirements simultaneously. As I
 9 have done as a consultant, I can review either layouts post-fill or reverse
10 engineering (“RE”) of semiconductor die to confirm that these tools have been
11 used to construct the layout or the die.
12         58.   From the RE of an integrated circuit, it can be seen that timing-aware
13 fill routines have been used in the layout simultaneous optimization of the fill and
14 timing requirements. The RE shows that the critical nets have been prioritized with
15 regards to the placement of fill for a given metal layer, in order to prevent, as much
16 as possible, critical timing signal paths from degrading performance. This is
17 obvious by inspection to one of skill in the art, such as myself, who can
18 immediately see by eye that this was performed.
19         59.   In particular, based on my experience, information that a company is
20 using a design tool suite—such as the Cadence Virtuoso and Innovus layout tools
21 produced by Cadence Design Systems, and those produced by Synopsys or
22 Siemens (formerly MentorGraphics)—indicates to me whether, from the layout of
23 the produced devices and/or a detailed functional block diagram of the circuit in
24 conjunction with the performance characteristics of that integrated circuit, that
25 timing-aware dummy fill routines were used as recited in Shrowty ’259.
26         60.   In particular, these layouts indicate visually, based on my experience
27 in semiconductor layout and design, that dummy metal is laid out relative to clock
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 1 nets as set forth in Shrowty ’259, such that dummy regions are prioritized so that
 2 dummy fill is inserted last in dummy regions located adjacent to clock nets. As
 3 explained in greater detail above, it is always necessary to identify the locations
 4 where dummy fill may be inserted before the fill is inserted.
 5         61.    Even when the circuit layout is not available, the performance
 6 characteristics of modern integrated circuits, in combination with a detailed
 7 functional block diagram, allow me to determine whether timing-aware fill
 8 routines were used. That is because timing-aware fill tools are widely used, and
 9 modern timing requirements and processing steps would be impractical (if not
10 impossible) to meet without the use of such automated tools. In addition, modern
11 integrated circuit processes, with lower technology nodes, are needed to implement
12 these complicated, highly integrated SOCs, even when seen from a block diagram
13 perspective, and based on my experience, timing-aware fill is a required step in
14 order to achieve commercially viable yields. Thus, in my experience, it can be
15 assumed with a high level of confidence that such tools are used to place fill in
16 every complicated integrated circuit.
17         62.    Based on my experience in semiconductor design and layout, all
18 layout design tools necessarily identify free space on each layer of the circuit
19 design suitable for dummy metal insertion as part of the dummy fill insertion
20 process. In order for dummy fill to be inserted by such a tool, the locations
21 suitable for insertion must first be identified and then designated as dummy
22 regions. Thus, the use of a layout tool to insert dummy fill necessarily includes,
23 and presupposes, the identification of the locations where that fill is to be inserted,
24 and it necessarily exists on a layer prior to insertion of dummy fill. In other words,
25 the existence of dummy fill on a metal layer, and its placement there by a layout
26 design tool, indicates that free space suitable for insertion of the dummy fill was
27 first identified and designated as an appropriate dummy region.
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 1         63.    In my experience, these tools operate by, among other things,
 2 maintaining a dummy region list for each tile in the design. Without maintaining
 3 such a list for each tile, the layout tool would not be able to ensure that each tile
 4 met the minimum interconnect density or that no more fill would be added once
 5 the interconnect density requirement was met.
 6         64.    Based on my experience in semiconductor design and layout, such
 7 lists are initialized by the layout design tool for each tile as a single rectangle
 8 corresponding to the outline of the tile.
 9         65.    Such layout design tools also step through the design database and
10 subtract the outline of each object found within the current tile from the dummy
11 region on which it lies, as has been standard for such design tools for some time.
12 Likewise, such design tools, upon removing an object from the dummy region,
13 partition the remaining area into sub-dummy regions, which are added to the
14 dummy region list in place of the original dummy region containing an object.
15         66.    Based on my experience in semiconductor layout and design, timing-
16 aware design tools, such as Cadence and Synopsys, at this point, will also store the
17 wire width property as a parameter if that object has been identified / designated as
18 a critical clock net wire, and then tag an edge of each dummy region located
19 immediately adjacent to the clock net wire with a clock net edge property. This is
20 so that the layout design tool can distinguish clock nets (which have a greater
21 impact on timing even compared to other signal nets) from other nets that are much
22 more tolerant of (or don’t affect) timing variance.
23         67.    Similarly, based on my experience in semiconductor design and
24 layout, the use of \step (b) of claim 1 of Shrowty ’259 (and its dependent claims) is
25 apparent to me from an examination of the circuit layout itself. In particular, the
26 clock nets and signal nets having dummy fill located further away and/or at lower
27 densities as compared to power and ground nets or less critical nets indicates that
28
                                            -21-
       DECLARATION OF LLOYD F. LINDER
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 1 the dummy regions were prioritized such that those located adjacent to critical
 2 clock nets were filled with dummy metal last in order to minimize the timing
 3 impact on clock nets. These critical nets can be determined by inspection of RE.
 4         68.    Based on my experience in using design tools for semiconductor
 5 layout and design, and my consulting work, which has included review and
 6 analysis of the results of engineers using these layout design tools, they operate in
 7 certain ways and all produce GDSII databases to create the physical chip, which is
 8 a required step. They all operate substantially similarly with regard to placement
 9 of dummy fill until the interconnect density in each tile meets what is necessary to
10 satisfy the CMP/yield requirements during processing without adding unnecessary
11 fill. In particular, at the very least, each of these tools maintains a dummy region
12 list for each tile in the design and inserts dummy metal into a circuit design by
13 identifying, as dummy regions, free space on each layer suitable for dummy metal
14 insertion and then prioritizes the dummy regions such that those located adjacent to
15 clock nets are filled with dummy metal last, in order to minimize the timing impact
16 of dummy fill on the clock nets in order to produce a GDSII database for
17 fabrication.
18         69.    Even where reverse engineering of an integrated circuit is not
19 available, my experience in semiconductor design and layout gives me sufficient
20 basis to opine whether one or more of the methods claimed in Shrowty ’259 have
21 likely been used in creating integrated circuits. In particular, for devices with high
22 complexity, high speed requirements, and low tolerance for timing adjustments, it
23 is highly likely that the dummy fill insertion was performed as recited by the
24 Shrowty ’259 methods. In my experience, these methods are widely used in
25 designing modern integrated circuits, and it has become standard practice in
26 semiconductor layout and design, including through the use of layout design tools,
27 to prioritize dummy regions such that dummy fill is inserted into dummy regions
28
                                           -22-
       DECLARATION OF LLOYD F. LINDER
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                           EXHIBIT 1
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                                                                              cell 818.632.9660
                                                                              lflinder@yahoo.com
                                                                              09/22/2021




                   Lloyd F. Linder
Skills summary     Extensive experience in high performance / high dynamic range analog mixed
                   signal, custom digital, and RF integrated circuit design, layout, and test, from
                   concept to production for commercial, military, and space IC products. Have
                   knowledge of IC process development, characterization, and modeling. Have
                   significant amount of experience in obtaining new military, space, and commercial
                   IC business, as well as obtaining funding for start-up activities. Technical oversight
                   for large IC design teams (20-40 people). Have ability to contribute creatively to the
                   solution of difficult technical problems. Have 99 U.S. patents issued with twenty
                   U.S. patents pending. Have 200-300 issued international patents. Have experience at
                   the discrete analog / RF / mixed signal board level design and layout, system
                   analysis, link budget analysis.

                   Specialties:
                   IP analysis / technical due diligence for M&A
                   IP portfolio management and creative contribution to new IP generation
                   Prior art searches and technical support for patent office action amendments
                   Perform simulations, review IP, and provide expertise in support of patent litigation
                   System Design/Architecture/Analysis/Block Specifications
                   New business development/capture
                   Winning proposals for small (SBIR Phase I and II) and large businesses
                   Product road maps
                   VC funding pursuits
                   Technical due diligence for VCs, angel investors, and M&A
                   IP creation and protection
                   Client deposition
                   Technical lead for IC design groups and product development
                   AMS/RFIC Design Chip/Circuit/System Architect
                   High speed, high performance ADC, Sample/Hold, ADC drvier amplifier, and DAC
                   architectures
                   RF/AMS/SOC BIST/DFT architectures and methodologies
                   PLL and DDS
                   Digitally programmable RF transceivers/SDR/GPS/cellular/wireless transceiver
                   architectures
                   RF TxRx, optical TxRx, modulator driver, LDD, TIA
                   Flash Ladar, active/passive imaging ROIC
                   regulators, high voltage/high current switches, ATE electronics
                   SiGe BiCMOS, CMOS, SOI, bipolar, Complementary bipolar, GaAs, InP
                   Digital beamforming
                   Cadence tools - schematic capture, SPECTRE, layout review
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                   Solutions to production problems
                   Secret clearance

Objective          Looking for consulting opportunities to utilize my experience and provide technical
                   leadership in all aspects of analog / mixed signal / RF integrated circuit and discrete
                   circuit design: architectural conception, design, simulation, layout, test, and
                   measurement / simulation correlation.



Experience        April 2006 – Present
                  Lloyd Linder Consulting
                  Consultant
                  Black Forest Engineering / Luminar Colorado Springs, CO.
                   • Architecture development for next generation automotive lidar ROIC
                  Strategic IP Initiatives Inc.      Morgan Hill, CA.
                   • Review of patent portfolio for PIC applications in SFP optical modules
                  GreyB Service Pte Ltd              Shaw Centre, Singapore.
                   • Provide expertise for many different invalidity cases for many different clients
                  Upwork                             Santa Clara, CA.
                   • Technical writer for application notes and VNA user’s guide
                  Syrnatec Inc.                      Newington, CT.
                   • Consult on ROICs for SBIR proposals
                  Kenney&Sams, P.C.                  Boston, MA.
                   • Expert witness in software defined radio development case
                  Microchip Technology Inc.          Burnaby, Canada
                   • Participated in ADC architecture study for 28 and 56 GBps SERDES products.
                   • Did webinar for world-wide IC design staff on ADC design issues.
                  ElevATE Semiconductor              Carlsbad, CA.
                   • Write white paper on ATE products.
                  GoodIP GmbH                        Munich, Germany
                   • Review and analysis of GaN and LED patent portfolio for potential acquisition.
                   • Spoke as the GaN / LED IP expert at webinar to discuss IP auction.
                  Nevada Nanosystems Inc.            Reno, NV.
                   • Review and analysis of ASIC architecture and requirements in support of MEMS
                       control circuitry. Evaluate IC design houses in the down-select process.
                  Axzon Inc.                             Austin, TX.
                   • Contribute to the analysis and review of CMOS transceiver architecture for UHF
                       RFID reader.
                  Microcosm Inc.                         Torrance, CA.
                   • Architect the discrete RF transceiver and analog base band signal processing
                       solution for digital beamformer. Develop packaging concepts for the beamfomer
                       and interface to the antenna elements.
                  Otava Inc.                             Moorestown, NJ.
                   • Contribute to the definition of overall transceiver and circuit architectures for 5G
                       beam formimg solution for 28-40 GHz 5G applications.
                  Analog Circuit Works                   Boston, Mass.
                   • Review of specification for fiber optic SOC application. Contribute to system
                       level analysis and architecture.
                  Second Sight Medical                   Sylmar, CA.
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                 • Debug of current eyewear for blind people. Contribute to reduction of noise and
                   coherent spurs in current product.
               Linear Microsystems                     Irvine, CA.
                 • Architect for high volume SOC for VR headset application. System analysis for
                   SOC proposal for fiber optic communications applications.
               Teqnovations                       Colorado Springs, CO.
                 • System level architect for receiver for phased array radar applications.
               Analog Devices Inc.                     Colorado Springs, CO.
                 • Work with design team on a DAC buffer IC to improve performance in the lab
                   and remove oscillation. Review existing architecture for redesign and developed
                   new architecture.
               Facebook                                Woodland Hills, CA.
                 • Schematic and board layout reviews of electronics for flight system
               GHB Intellect                           San Diego, CA.
                 • Review of Patent claims for client for multiple issued patents in the wireless
                   communications area.
               BINJ Labs                               Scituate, MA.
                 • Definition of top level Software Defined Radio architecture for wide band
                   operation. Work with board development effort and SDR development company.
               Sentinel Monitoring Systems Inc.        Tucson, AZ.
                 • Schematic review of high speed data converter and timing board schematic.
               FlexPowerControl                        Woodland Hills, CA.
                 • Consultation on system level requirements document in-home energy control
                   product development. Develop IP for the company.
               SpectraResearch                         Dayton, OH.
                 • Consultation on integration considerations for discrete X-band and Ka / Ku-band
                   transponder architecture for SWAP-C improvements.
               McKool Smith                            Dallas, TX.
                 • Perform simulations of IP for RFIC receiver, and provide expert opinion for
                   patent litigation in a report for case :2:15-cv-00011-JRGRSP in the United States
                   District Court for the Eastern District of Texas.
               Quantum Semiconductor LLC               San Jose, CA.
                 • Consultation on architecture and simulations for proprietary ADC architecture.
               Maven Research                          San Francisco, CA.
                 • Consultation on use of design house by third party for products.
               Faraday Technology Corporations         Santa Clara, CA.
                 • Review of third party transceiver RFIC schematic design, layout, and testability.
               Irunway                                 Dallas, TX.
                 • Review of IP for legal firm in patent litigation. Simulation of IP for transceiver
                   RFIC. Simulation results included in expert report.
               Alphacore Inc.                          Phoenix, AZ.
                 • Architecture review and enhancements of high speed CMOS ADC and visible
                   monolithic imaging chips. Develop DROIC architectures for SBIR proposal
                   pursuits.
               Brady Worldwide Inc.                    Milwaukee, WI.
                 • IP review of start-up for potential investment / acquisition. Develop sensitivity
                   analysis for present products and future CMOS technology scaling.
               InPhi Corporation                  Westlake Village, CA.
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                • Review and contribute to architecture refinements for single channel and multi-
                    channel EAM drivers for 2 level and 4 level PAM. Perform architecture study for
                    low power EAM driver.
               DRS RSTA Inc.                           Cypress, CA.
                • Help with EDA methodology for AMS design for ROICs.
               Ridgetop Group                          Tuscon, AZ
                • Architected wide band RF front end for multiple current SBIR proposals.
               Space Micro                             San Diego, CA
                • Review of 0.18 µm CMOS quadrature DAC design and layout.
               Teradyne                                Agoura Hills, CA
                • Analog DFT / BIST / testability architect for 40 nm CMOS SOC for next
                    generation Teradyne tester. Architect transistor level circuit solutions for power
                    supply IC for DUT testing. Investigate high voltage CMOS and complementary
                    bipolar process technologies for internal design development with unique current
                    clamping architecture. Define baseline circuit topology and perform simulations.
               Lockheed Martin                         Moorestown, New Jersey
                                                       Littleton, Colorado
                                                       Deer Creek, Colorado
                • Involved in high voltage driver IC development for GaN PA.
                • Involved in architecture development and review of wide band band receiver
                    integrated circuits from DC to Ka / Ku in SiGe.
                • Involved in overall ADC architecture development and definition, and transistor
                    level circuit architectures, for next generation RFIC transceivers and data
                    converters. Architect of next generation transceiver architectures for SOC /
                    heterogeneous applications. Involved in study for government customer of data
                    converter architectures for next generation digital beam forming applications.
                    Architecture review and development for high voltage analog driver array.
                    Involved in architecture for multiple receiver RFIC developments for S, C, and
                    Ka bands.
               HRL                                     Malibu, CA
                • Perform market survey of component technologies for multi-mode, multi-mode
                    commercial software defined radio applications. Summarize capability for data
                    converters, front end modules, antennas, transceivers, and base band processors.
                    Compare the available technology to an architecture based on custom chip
                    development for the solution.
               Micrel                                  San Jose, CA
                • Involved in the testing, debug, and redesign of a 65 nm CMOS 2.4 G / 5 G WiFi
                    transceiver product. Provide technical guidance for redesign of RF front end and
                    the 2.4 G / 5 G LO clock distribution.
               Key2Mobile                              Westlake Village, CA
                • Developed RF transceiver concepts for multi-band, multi-mode remote radio
                    head system. This is included transceiver architectures based on digital beam-
                    forming and direct RF sampling and direct RF synthesis data converters.
               Hittite Microwave                       Colorado Springs, CO
                • Consultant on the architecture for the high dynamic range, high speed IBM SiGe
                    8HP BiCMOS DAC and complementary bipolar ADC driver amplifier products
                    for the cellular base station market.
               Semtech                                 Redondo Beach, CA
                • Technical consultant on IBM SiGe 8HP BiCMOS interleaver IC and IBM 32 nm
                    SOI monolithic coherent detection transceiver SOC for 100G coherent optical
                    detection systems. Involved at the architectural level for the SOI interleaver, 8
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                   bit, 64 GSPS ADC, and 8 bit 64 GSPS DAC circuits, and overall system
                   calibration.
                • Developed concepts for 10-12 bit, 4-8 GSPS ADC architectures for digital array
                   radar and digital beam-forming applications, as well as high performance sample
                   and hold architecture for military applications.
               FBI                                   Westwood, CA
                • Technical consultant on matters of national security. Awarded medal for service
                   to the country.
               Nu-Trek Inc.                          San Diego, CA
                • Developed an RF BIST architecture for characterization of a RF transceiver.
                   Helped the company win Air Force Phase I and Phase II awards.
                • Involved with test evaluation of pipeline ADC for cryogenic applications, L1 /
                   L2 band GPS receiver, and Universal Reliability SOC development for lifetime
                   testing of X-Band and L-Band transceivers.
                • Responsible for the development of the company’s product roadmaps.
                • Contributed to SBIR and STTR proposals on nonlinear coupled oscillators for
                   active array applications, active sonar signal processing, high dynamic range
                   ADC, GPS, RFIC transceivers, RIICs, and ROICs. Involved in testing of ADCs
                   for ROICs, and architecture development for RF BIST.
               FLIR Electro-Optical Components       Ventura, CA
                • Technical lead for the development on ROIC architectures for NASA, Navy, Air
                   Force, MDA, and Army SBIR Phase I and Phase II programs. Development of
                   novel active and passive unit cell architectures.
               SYS Technologies / Kratos Defense     San Diego, CA
                • Review of SiGe BiCMOS class E power amplifier design to improve reliability
                   of operation. Reviewed circuit, simulation results, test results (dynamic and DC),
                   and performed thermal analysis based on self-heating.
                • Review of schematic and layout for small form factor PCB that contains GPS
                   transceiver RFIC and companion digital ASIC. Review of schematic and layout
                   for PLL, IF / baseband test chip evaluation boards. Suggestions for
                   characterization / test debug.
                • Review Transmitter and Receiver schematics and block layouts of GPS
                   transceiver IC in IBM 7HP 0.18 µm SiGe BiCMOS for redesign effort. Review
                   of improved receiver IC design.
                • Review of test results for the evaluation board and suggestions for
                   characterization and debug. Review of board design and layout revisions for
                   improved electrical and thermal drift performance for successful demo. Help
                   with board yield and manufacturing issues.
               Aerius Photonics LLC              Ventura, CA
                • Technical lead for STTR Phase I ROIC circuit design partner.
                • Developed ROIC architectures for laser vibrometer SBIR Phase I proposal.
               LinearChip Inc.                       Aliso Viejo, CA
               • Developed complete single chip CMOS 802.11 a/b/g/n/ac transceiver
                   architecture, with on-chip T/R switch, for proposal to commercial test equipment
                   house.
               • Developed CMOS MSK transmitter for patient temperature monitor and medical
                   equipment tracking ASIC. Developed overall quadrature transmitter architecture,
                   circuit topologies for the DAC, active filter, quadrature mixer, power amplifier,
                   and temperature stabilized reference oscillator. Performed noise / distortion
                   budgets, duty-cycled power calculations for extended battery life, determined
                   PLL phase noise requirements, and defined the circuit block specifications.
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                   Technical lead for the circuit simulations in XFAB XH018 0.18µm CMOS RF
                   process.
               • Participating in pursuit of new IC design business. Development of PHEMT TIA
                   gain block concept, satellite receiver / de-multiplexer architecture, CMOS and
                   SiGe RF receiver architectures, and CMOS analog AFE for hand-held controller
                   for telescope, including 16 bit audio DAC architecture. Involved with multiple
                   RFIC proposals for military and commercial applications. Developed multi-
                   channel AM/FM receiver for location positioning application.
               • Developed unique TIA / AGC / output amp circuit concept for cable TV over
                   fiber market based on JAZZ 0.18µm SBCH18XL SiGe BiCMOS process.
               • Review of battery charger circuit architectures for XFAB XC06 0.6 µm CMOS
                   IC. Architecture suggestions for capacitor charging loop and low battery
                   indicator circuit.
               Wistron Corporation                    Taipei, Taiwan
               • Contributed to discrete quadrature receiver architecture for a new module business
                    proposal to DirectTV.
                • Involved with review of existing ODU L-Band module specifications, and
                   application to new digital L-Band module. Contribute to the definition of ASIC
                   requirements and discrete component requirements for new ODU architecture.
               Arete Associates                       Sherman Oaks, CA
               • Phase I and internal IRAD programs for advanced TIA architecture development
                   for high speed laser pulse return processing.
               • Review of schematics, simulation results, and layout floor plan, and layout for a
                   64 channel TIA / OTA wavelength converter in IBM 5HPE 0.5µm SiGe
                   BiCMOS. Function is to receive 1 ns laser pulse and provide linear gain for
                   retransmission. Made suggestions for additional simulations for design
                   robustness and concerns, as well as improved performance based on layout
                   changes. Also made layout suggestions for improved isolation and performance.
                • Developing unique 3D FPA and digitally programmable ROIC pixel unit cell
                   architectures for inclusion in STTR proposal.
                • Review of 2 TIA input / 128 channel output VCSEL driver, 2 GHz pulsed
                   sampling IC in IBM 7WL 0.18 µm SiGe BiCMOS.
               Raytheon Corp.                         Dallas, Tx. / El Segundo, CA
                • Involved in the development of 40 GSPS ADC architecture in 32 nm IBM SOI.
                • Involved in development of on-chip mechanical stress measurement circuit for
                   thermal imaging sensor IC in IBM 9SF 90 nm CMOS process. Submitted patent
                   disclosure on stress sensor circuit. Reviewed the pixel circuit design and the
                   overall ROIC circuitry and timing.
                • Participated in winning MDREX proposal effort to AFRL to develop high
                   performance 10 bit, 2.2 GSPS ADC, 14 bit, 3 GSPS DDS, and 1:4 DMUX ICs in
                   IBM 8HP 0.12µm SiGe BiCMOS, and integrate these functions with 8HP
                   receiver and transmitter circuits developed by AFRL, as well as 8HP bias and
                   control circuits developed by Raytheon. Involved with Phase I kick-off meeting.
                • Participate in SBIR proposals development with partners Nu-Trek and
                   Crossfield. Developed design methodology for CMOS GPS SOC integration.
                   Developed sub-threshold CMOS RF circuits for low power GPS receiver
                   concept. Generated phase adjust circuit for RF clock distribution for antenna
                   array electronics, and submitted patent disclosure. Contributed write-up on high
                   speed, high performance DAC topologies for DDS proposals. 1 Phase I SBIR
                   proposal awarded.
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               • Schematic and layout review of IBM 7HP 0.18µm SiGe BiCMOS digital control
                 and bias regulation circuits for MMIC common leg circuit. Reviewed regulator
                 loading problems, solutions, and simulation results. Made simulation
                 recommendations for verification of design robustness. Reviewed metal mask
                 fixes.
               • Review of test data, process parameters, and circuit design for production HRL
                 G1.5 2µm InP band-pass Σ-∆ IC for yield enhancement. Developed vendor RFQ
                 for multi-phase IC redesign effort.
               • Involved in metal mask effort for 14 bit, 3 GSPS DDS / DAC IC in IBM 7HP
                 0.18µm SiGe BiCMOS through the Trusted Foundry program. Contributed to
                 design, layout changes in the high speed digital DLL section to improve
                 performance for higher clock applications. Documented circuit design limitations
                 for future redesign for clock rate enhancement.
               • Analyzing test data, PCM data for the metal mask DDS chip. Correlate
                 sensitivity of test results to process parameters, and simulation results, to
                 improve yield on future fabrications. Investigate design improvements for
                 possible new mask set. Provide suggestions for performance improvements at the
                 board level. Involved in improvements of the DLL section for next all-layer mask
                 release.
               • Member of team analyzing radiation induced latch-up effects in commercially
                 available data converter for space application. Involved in focused laser beam
                 testing to create single events in the converter. Analyzing radiation data,
                 reliability data, and design guides for end-of-life DC power estimates for ICs
                 designed in NS 0.8µm ABIC-IV BiCMOS, MAXIM GST-1 bipolar, IBM 5SF
                 CMOS, and Honeywell HX3000 SOI.
               • Review of link budget and block performance for IF and base-band ICs
                 implementing high dynamic range receiver, including IF amp, mixer, VGA /
                 attenuator, and ADC driver amp in IBM 5HPE 0.5µm SiGe BiCMOS. Made
                 architectural suggestions for improved performance. Reviewed test results, and
                 made suggestions for debug.
               • Design review of IBM 5HPE 0.5µm SiGe BiCMOS IF receiver ASIC including
                 mixer, gain control amp, and ADC buffer amplifier. Review of measurements for
                 test circuits.
               • Jitter analysis for ADC module clock path using divider circuits.
               • Design reviews of IBM 5DM 0.5µm SiGe BiCMOS L1 / L2 GPS dual channel
                 receiver IC: LNA1, LNA2, RF amp, RF mixer, IF mixer / AGC, gain calibration
                 loop, baseband amp, PLL, and ADC. Defined layout floor plan, channel layout
                 isolation techniques, and package requirements to meet isolation requirements.
                 Reviewed final GPS receiver layout and developed plan for simulation of layout,
                 package, and external component parasitics. Contributed to correlation of test
                 results. Review of socketed test board layout.
               • Review of quad channel IQ detector hybrid design and layout. Made suggestions
                 for debugging of existing hybrid oscillation and improved performance. Review
                 of TI BiCOM-2 0.7µm CBiCMOS IQ IC performance and correlation to hybrid
                 measurement.
               • Review of simulations and test results for IBM 8HP 0.12µm SiGe BiCMOS
                 millimeter wave transceiver chipset module performance from outside vendor.
               • Review of M/N PLL hybrid design. Review of TI BiCOM-2 0.7 µm CBiCMOS
                 M/N PLL IC performance and correlation to hybrid measurement.
               • Performed BOL and EOL noise analysis to estimate the jitter of on-chip clock
                 receiver circuits for the SPT7760 ADC IC based on the MAXIM GST-1 process
                 parameters, and off-chip COTS components for satellite application.
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                Menara Networks                      Irvine, CA
                • Reviewed schematics and simulation results for high frequency, multi-GHz
                  active RF low pass filter in JAZZ SBC18HXL 0.18µm SiGe BiCMOS. Involved
                  in top level layout review of first generation EDC IC.
                • Contributing to the development of Nyquist 10 GSPS sample / hold circuit, for
                  hold mode feed-through reduction, low distortion, and low power. Contributed to
                  the DC AGC circuit to generate coefficients for Gilbert multiplier as well as
                  developed a new summing circuit for the sampled signals in the analog sampled
                  FIR filter. Involved in solving layout-induced performance problems.
                • Involved in the clock distribution architecture and feedback loop to reduce DC
                  offset effects on zero crossing. Review of regulator circuit power-up issues.
                  Created new ADC-based residue architecture to generate the appropriate transfer
                  function for a phase detector circuit for consideration on a higher performance,
                  lower power version of the existing Fiber Optic Receiver IC in JAZZ
                  SBC18HXL 0.18µm SiGe BiCMOS.
                • Preliminary review of third party design of 10 Gb/sec CDR PLL schematic
                  blocks for SOC application in STM 0.13µm SiGe BiCMOS. Reviewed metal
                  mask circuit design changes.
               MOSIS / ISI                          Marina del Rey, CA
               • Review of MOSIS website. Provide report consisting of ways to improve
                  technical and business information on the website, as well as customer support.
                  Used client questionnaire to provide additional insight into website, technical
                  information, customer service and support.
               Tangea Semiconductor                 Manhattan Beach, CA
                • Participated in business plan development, facility requirements, engineering
                  manpower requirements, technical concepts, and potential investor meetings.
               Technoconcepts Inc. / Terocelo       Van Nuys, CA
                • Involved in the design, development, and review of RF receiver and transmitter
                  ICs for multi-band, multi-mode applications using JAZZ SBC18HXL 0.18 µm
                  SiGe BiCMOS. Versions of the Receiver IC include RF VGA, mixer, RZ
                  (Return-to-Zero) and NRZ (non-Return-to-Zero) 6 GSPS 1 bit Σ-∆ ADC, with 2
                  feedback DAC and 3 feedback DAC versions, PLL, 1:16 DMUX, and base band
                  decimation and filtering. Activities include circuit-level architectures to improve
                  existing performance, schematic and simulation reviews, top level layout floor-
                  planning, layout review, and evaluation board review.
                • Involved in testing and correlation of packaged part performance, to simulation,
                  for noise density, harmonic distortion, and intermodulation distortion products.
                  Involved in architecture improvements and enhancements, based on test results,
                  for a metal mask effort. Improvements include extension of VGA architecture to
                  extend the input 1 dB compression point, IIP3, and bandwidth. Added provision
                  to sample very low input frequencies. Improved the dynamic range of the
                  transconductance amplifiers in the modulator. Added dither DAC at the
                  comparator input to improve idle tone performance. Extended the dynamic range
                  of the present RZ Σ-∆ design. Improved the DAC settling and noise response.
                  Added an LNA, and a single-ended to differential converter to interface to the
                  existing VGA.
                • Development and layout of test chips for the TSMC 90nm CRN90LP CMOS RF
                  process. Designs include single-ended, wideband and tuned versions of high IIP3
                  LNA architectures using novel distortion cancellation techniques for operation in
                  the 1- 6 GHz frequency bands. Also developing versions of a 1.8V bidirectional,
                  tri-stated CMOS / LVDS I/O driver with resistive and active back terminations,
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                   and a single input, multi-band, multiple output, switched / tuned RF front end.
                   Involved with CASCADE probing, and correlation to simulation results.
                • Development of a wide-band, software defined, multi-band, multi-mode, receiver
                   chip for the TSMC 65nm CRN65GP mixed signal / RF process. Architected the
                   circuits for the wideband LNA with novel AGC and attenuator, the RF DMUX /
                   on-chip RF filter bank, the RF MUX / single-ended-to-differential converter, the
                   quadrature mixer with AGC, RSSI log amp, and the programmable base-band
                   filters. All the RF blocks utilize IM3 cancellation. Target services include AM,
                   FM, DTR, DTV, WiFi, and WiMAX for automotive application for Japanese
                   customer. Involved in the link budget analysis, block specifications, and the
                   requirements for the associated base band ADC and PLLs for the high band LO,
                   low band LO, and ADC LO ICs. Also proposed this architecture for NSF
                   proposal in order to obtain additional development funding.
                • Involved in the design, layout, and review of customer demonstration board,
                   based on existing transceiver chipset, for WiMAX applications, using Picochip
                   base-band processor.
                • Developing transceiver architecture concepts for multi-service / simultaneous
                   /switched reception off of single multi-band antenna, diversity, and MIMO with
                   self-calibration. Developed low power architecture for multi-service receiver
                   summing into single ADC. Developed transmit / receive architecture for multi-
                   band, multi-mode military radio. Architectures are baseline for new business
                   opportunities.
                • Developed IBM 0.12µm 8HP SiGe BiCMOS low power LNA topologies for 10-
                   20 GHz for SBIR proposal. Developed RF interference cancellation architecture
                   for SBIR proposal.
               Red Dot Wireless                       Milpitas, CA
               • Performed transceiver architecture study for TD-SCDMA / EVDO / WiFi /
                   MIMO WiMAX application. Involved in presentations to investors.
               Ubidyne                                Ulm, Germany
               • Schematic, simulation, and layout review of IHP SG25H1 SiGe BiCMOS S1.0
                   Receiver RFIC. Review of characterization test results.
               • Schematic, simulation, and layout review of JAZZ SBCH18XL SiGe BiCMOS
                   S2.0 receiver, transmitter, and PA driver IC designs. Schematic and layout
                   review of Toshiba 90nm CMOS high speed custom digital IC design.
               • Review of test data and circuit design for S2.0 receiver to determine yield issues.
               Dynamic Research Corporation       San Diego, CA
                • Review of existing top level IC issues and proposed packaging approach for GPS
                   transceiver in IBM 7HP 0.18 µm SiGe BiCMOS.
               Q3Web Wideband Wireless Inc.           Harbor City, CA
                • Constructed white paper on the development of IP libraries in the IBM CMOS
                   and SiGe BiCMOS technologies for use by military contractors. Being submitted
                   to government for funding consideration.

                August 2009 – May 2011        Aerius Photonics                     Ventura, CA.
                Senior Systems Engineer
                • Directly responsible for winning new SBIR business for ROIC development.
                  Captured $2.6M of ROIC development money. Have written multiple winning
                  proposals for Army, Navy, MDA, NASA, Air Force, and NSF SBIR Phase I
                  efforts. Have won Navy and ARMY Phase II efforts. Additionally, supported
                  other proposal wins for other technology developments.
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                • Responsible for the development of new and novel circuit concepts for CMOS
                  and SiGe BiCMOS passive and active imaging ROICs. Have found and engaged
                  ROIC design partnerships. Involved in new business development.
                • Have defined ROIC specifications and system requirements in conjunction with
                  BALL Aerospace, Sensor Creations, Raytheon, BAE Systems, Arete and
                  Associates, Tetravue, IDEO, Microvision, Velodyne, and other military and
                  commercial contract partners.
                • Technical lead for the conceptual phases of the following ROIC developments:
                  JAZZ SBC35 ROIC for laser vibrometry, ON Semiconductor C5 0.5µm ROIC
                  for 3-D FLASH LADAR for beach zone / surf zone applications, ON
                  Semiconductor C5 0.5µm CMOS ROIC for dual well application (patent
                  pending), JAZZ SBC18 CMOS monolithic imaging ROIC with integrated SiGe
                  APD, and ON Semiconductor 0.18µm CMOS 1920 X 1080 SWIR ROIC.
                • Contributed to the development of new laser range finder receiver architecture
                  with unique time programmable gain.
                • Developed digitally programmable pixel architecture and specifications for linear
                  direct / coherent detect ROIC for STTR Phase I effort.
                • Technical lead in development of single pixel discrete board level customer
                  demo for STTR Phase I LADAR application, and board developments for: 10
                  Gb/second hexagonal InGaAs detector array, custom ROSA and CDR, 4 X 4
                  array with fan-out electronics in support of sub-ns laser returns, and new laser
                  range finder receiver.

               April 2008- January 2009       Menara Networks                           Irvine, CA
               Director of ASIC Development
               • Involved in simulations of existing Electronic Dispersion Compensation (EDC)
                 IC to correlate to measured performance to define metal mask effort for JAZZ
                 SBC18HXL 0.18µm SiGe BiCMOS IC. Helped define testing for chip
                 characterization.
               • Patent application on interleaved FIR with unique sample / hold for extended
                 high dynamic range over previous implementations.
               • Contributed to architectural improvements for low power version of EDC IC in
                 IBM 8HP 0.13 µm SiGe BiCMOS.
               • Performed simulation trade-off study to compare circuit performance for
                 transmitter application in TSMC CMN65LP 65 nm CMOS, IBM 10LPE 65 nm
                 CMOS, and IBM 8HP 0.12µm SiGe BiCMOS.
               • Simulation and design of transmitter pre-driver and output driver for quad 10
                 Gb/s transceiver with integrated EFEC in IBM 10LPE 65 nm CMOS.
               • Simulated low power EML driver concept in IBM 8HP 0.12µm SiGe BiCMOS.
               • Involved in the investigation and development of new architectures in support of
                 100 Gbit/s optical links.
               • Review of board schematics and layouts for EDC IC evaluation board, OTN XFP
                 module, and OTN 300 pin module.

               February 2002- April 2006 TelASIC Communications                    El Segundo, CA
               Director of Technology / Founder
               • Technical lead for next generation single supply (+5V) data converter ICs in IBM
                  0.5 µm 5AM SiGe BiCMOS: RF sampling 10 bit, 1 GSPS ADC, on-chip sample
                  / hold, and up-converter IC with integrated 14 bit, 1 GSPS DAC, IF amplifier /
                  mixer. Developed self-heating error correction for quantizer preamp.
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               • Technical lead for new business pursuits in military and commercial integrated
                 circuits. These included RF handset transceivers, spot BTS, fiber optics, analog
                 transmit cancellation receiver for Gigabit Ethernet, automotive radar, data
                 converters, sample / hold, FPA imaging sensor readout, and arbitrary waveform
                 generators. Technical lead in new business pursuits in board-level DPD-based
                 transceivers based on COTS components. Involved in proposals with Raytheon
                 for DARPA programs, including RHBD (Rad Hard by Design) and Team Phase
                 II.
               • Technical advisor for the conception, development, and commercial production
                 of the TC2412 14 bit, 737 MSPS DAC IC and TC1412 14 bit, 250 MSPS ADC
                 IC in IBM 5AM (data sheets available at www.telasic.com/website/products).
                 Architectural contributor to base station transceiver chipset concept. Data
                 converter IC products are being sold to PMC for the NTT DoCoMo base station
                 market. Involved in development of IBIS models of DAC and ADC IC for
                 customer board level simulations.
               • Technical contributions to various IC designs including IBM 5AM ADC driver
                 amps, Re-sampler, IBM 7HP test chips, including sample / hold, amplifier,
                 mixer, ring oscillator, and 14 bit, 3 GSPS DDS. IBM 8T chips including re-
                 sampler and 3 bit / 40 GSPS sample / hold / Quantizer / DAC.
               • First version of the ADC IC developed, TC1411, received analogZone 2003
                 Product of the Year Award.
               • Involved in business plan development, process to obtain first round of funding.
               • Performed technical due diligence on potential new investments for venture fund.

               1999– February 2002             Raytheon Advanced Products         El Segundo, CA
               Engineering Fellow
               • Technical lead for new business pursuits in military / commercial ICs, working
                 with organizations across the company. Programs won include: SIMBAW,
                 TEAM, ADRT, ULTRACOMM, ACN, 3D Flash Ladar image sensor, and
                 APLA.
               • Involved in FPA multi-sampling ROIC developments in AMI 0.5µm CMOS: 10
                 X 10, 64 X 48 arrays. Unit cell development in IBM 0.13 µm CMOS for 256 X
                 256 array. Developed fan-out concept to maintain small cell pitch while allowing
                 for multi-sampling analog architecture. Evolved multi-sampling concepts for
                 programmable sample time stamp and number of samples.
               • Technical advisor for integrated circuit development across Raytheon. This
                 includes design review / debug of existing IC developments.
               • Involved in the design and development of data converters, IBM 5HP IF
                 sampling Band-pass Σ-∆, compact DDS, and RF transceivers for the military and
                 commercial markets. Circuit concepts include fast frequency hopping PLLs,
                 active biquad filters, and a sine weighted DAC.
               • Developed Tondelayo 802.11a half duplex transceiver chipset in IBM 5HP for
                 start-up (Systemonic) acquired by Philips. The transceiver demonstrated 802.11a
                 frequency bands in the 5- 6 GHz frequency range using a PCMCIA format.
               • Technical contributor to conversion of 0.6µm to 0.5µm NS CMOS for 14 bit, 10
                 MSPS radiation hard, algorithmic ADC. Involved in design and review process.
               • Cooperative effort with LUCENT for next generation design improvements and
                 completed plastic / ceramic package performance evaluation trade-off of
                 CSP1152A CMOS 14 bit, 65 MSPS ADC for Sirius radio application.
               • Technical evaluator for BOEING 0.35µm CMOS 1.0625 Gbit/sec Multi-channel
                 Fibre Channel Transceiver for Raytheon AESA application. Contributed to
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                 design reviews, layout reviews, design changes / iterations, suggested simulations
                 to run, and evaluated test results.
               • Developed concepts for the integration and packaging of RF MEMS devices with
                 integrated circuits. Circuit architectures included RF front ends with tunable
                 capacitors, tunable RF band-pass and notch filters, as well as active MUX
                 circuits for frequency hopping between filters.

               1993–1999                      Hughes Communications Products El Segundo, CA
               Senior Staff Engineer / Senior Scientist
               • Technical lead of the development ICs for the Digital Receiver Program. This
                 included NS ABIC-IV 0.8µm BiCMOS ICs with the following functions: LNA,
                 mixer, LO driver, DAGC, fractional frequency hopping low phase noise PLL, IF
                 amplifier, video amplifier, serial interface, log detection / blanking, and control
                 logic, and a LUCENT CBIC-V2 summing amplifier IC. Involved in the
                 packaging and test of plastic packaged parts. Digital Receiver board contained 2
                 chip UHF receiver, single chip GPS receiver IC, and master PLL IC.
               • Technical lead for research and development of RF and analog ICs in CMOS,
                 Hughes NB SOS / SOI, silicon (NS ABIC-IV, V, MAXIM SHPi), and IBM SiGe
                 bipolar / BiCMOS process technologies. Functions included LNAs, RF LNA,
                 mixer, VCO, ring oscillator, video amplifier, IF amplifier, sample / hold, high
                 speed 10 bit ECL-to-CMOS translator / latch, 12 bit DAC, and LP Σ-∆.
               • Development of AM / FM LNAs in IC Delco 1.2µm CMOS for automotive
                 radio.
               • Involved in the chipset development for NS for the 1.0625 Gbit/sec ANSI X3T11
                 8B/10B standard using ABIC-IV process. Involved in laser diode driver, TZA,
                 SIPO, PISO, Transceiver ICs.
               • Involved with process development / modeling for CMOS, SOS, and silicon /
                 SiGe BiCMOS process technologies.
               • Team member of the NS ABIC-IV ADC chip development based on
                 requirements for the ICO satellite system
               • Involved in the debug, characterization, and production of hybrids and modules
                 for airborne radar and AMRAAM missile applications.

               1991–1993                      Radar Systems Group, Hughes Aircraft El Segundo, CA
               Staff Engineer
               • Lead the IC development of high performance data converter components
                  including sample / hold, summing amplifier, timing generator, band-gap, ADC
                  reference amplifier, video amplifier, DAC, flash quantizers, and buffer amplifier
                  in LUCENT CBIC-U / U2 and MAXIM SHPi and CPi processes.
               • Involved in the development of mixer ICs for high dynamic range radar using
                  HRL InP, AlGaAs, and Litton and Hughes D-MESFET technologies.

               Fall Semester 1990             Electrophysics Department, USC Los Angeles, CA
               Lecturer
               • Taught EE448, Senior Electronics. Generated syllabus, created homework
                  problems, tests, and solutions. Handed out final grades.

               1986–1991                     Radar Systems Group, Hughes Aircraft El Segundo, CA
               Member of Technical Staff
               • Involved in the design of components for high performance data converters.
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                  • Contributed to the design of high dynamic range buffer amplifiers, sample /
                    holds, integrators, and gain stages in Hughes 2 µm CBiCMOS, Fairchild 1.25 µm
                    Fast-Z Fineline, and NS Aspect-II, Aspect-III, and ABIC-IV.
                  • Designed 2 bit adaptive threshold ADC IC in ORBIT 2µm CMOS for EPLRS
                    radio.
                  • Contributed to architecture for Hughes NB 2 µm CMOS gate array ASIC.
                  • Involved with process development / modeling for bipolar, complementary
                    bipolar, CMOS, BiCMOS, CBiCMOS.
                  • Generated analog tile array for the Hughes Carlsbad CBiCMOS process.




                  July 1985–1986                 Radar Systems Group, Hughes Aircraft El Segundo, CA
                  Member of Technical Staff
                  • Involved in design of high speed digital ICs for the VHSIC (Very High Speed
                    Integrated Circuit) program using Fairchild Fast-Z Fineline 1.25µm bipolar.
                  • Involved in design of high speed 64 X 16, 124 X 24, and 1K X 24 SRAM ICs.
                  • Contributed to the merged junction bipolar SPICE model.
                  • Designed current mode logic for UHSBL (Ultra High Speed Bipolar Logic) cell
                    library in NS Aspect-III. Cells used in high speed MUX, DMUX, and DDS ICs.
                  • Developed digital IC architectures for high speed radar signal processing.

Education         1980-1985                       UCLA                               Westwood, CA
                  • BS Electrical Engineering Summa Cum Laude, Phi Beta Kappa
                  • UCLA’s Most Outstanding Senior Electrical Engineering Student
                  1985-1987                       UCLA                               Westwood, CA
                  • MS Electrical Engineering
                  1987-1989                       USC                               Los Angeles, CA
                  • Engineer’s Degree Electrical Engineering
                  1990-Present                    USC                               Los Angeles, CA
                  • PHD Candidate under the advisement of Prof. John Choma Jr.
                  • Completed Thesis: “Nonlinear Error Correction for the Bipolar Canonic Cells.”
                  • Designed, fabricated, and DC wafer probed amplifier circuits in MAXIM SHPi
                    bipolar process to verify theory developed.

Publications      • M. Chambers and L. Linder, “A Precision Monolithic Sample- And-Hold for
                    Video Analog-to-Digital Converters,” ISSCC Feb. 1991.
                  • B. Felder, et al., “A Low Noise 13 Bit 10 MSPS ADC Hybrid with High
                    Dynamic Range,” GOMAC 1994.
                  • W. Cheng, et al., “A 3 Bit, 40GSPS ADC- DAC in 0.12µm SiGe,” ISSCC Feb.
                    2004.
                  • O. Panfilov, et al., “Direct Conversion Transceivers as a Promising Solution for
                    Building Future Ad-hoc Networks,” International Conference on Next Generation
                    Tele-traffic and Wired / Wireless Advanced Networking September 2007.
                  • O. Panfilov, et al., “Test Results of the Direct Conversion Transceiver Demo
                    Board”, November 2007 SDR Forum Technical Conference.
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                        • O. Panfilov, et al., “Overcoming Challenges of Direct Conversion Software
                          Radio,” IEEE International Design and Test Workshop December 2007.
                        • A. Varghese and L.F. Linder, “Software Defined Radios for Wireless Handsets,”
                          April 2008 Wireless Design & Development Magazine.
                        • S. Elahmadi, et al., “A Monolithic One-Sample / Bit Partial-Response Maximum
                          Likelihood SiGe Receiver for Electronic Dispersion Compensation of 10.7 GB / s
                          Fiber Channels,” OFC / NFOEC March 2009.
                        • S. Elahmadi, et al., “A 50 dB Dynamic Range, 11.3 GSPS, Programmable Finite
                          Impulse Response (FIR) Equalizer in 0.18µm SiGe BiCMOS Technology for
                          High Speed Electronic Dispersion Compensation (EDC) Applications,” RFIC
                          Symposium, June 2009.
                        • J. Edwards, et al., “A 12.5 Gbps Analog timing Recovery System for PRML
                          Optical Receivers,” RFIC Symposium, June 2009.
                        • D. Baranauskas, et al., “A 6th Order 1.6 to 3.2 GHz Tunable Low-Pass Linear
                          Phase gm-C Filter for Fiber Optic Adaptive EDC Receivers,” RFIC Symposium,
                          June 2009.
                        • S. Elahmadi, et al., “An Analog PRML Receiver for up to 400km of
                          Uncompensated OC-192 Fiber-Optic Channels,” ESSCIRC September 2009.
                        • S. Elahmadi, et al., "An 11.1 Gbps Analog PRML Receiver for Electronic
                          Dispersion Compensation of Fiber Optic Communications," IEEE JSSC, vol.45,
                          no. 7, July 2010.
                        • Montierth, D., Strans, T., Leatham, J., Linder, L., and Baker, R. J.,
                          "Performance and Characteristics of Silicon Avalanche Photo detectors in
                          the C5 Process," 2012 IEEE Midwest Symposium on Circuits and Systems,
                          Boise, Idaho.
                        • Rauch M. and Linder L., "Collaborating with Nu-Trek," 2012 HiRev
                          Industry Day, December 2012, Los Angeles, California.
Awards / Achievements •    IEEE Senior Member
                      •    Two-time Hughes Aircraft Division Patent Award winner
                      •    55 issued US patents, over 300 international patents, several US patents pending
                      •    Numerous IC design team awards at Hughes and Raytheon
                      •    Hughes Masters Fellow, Engineers Fellow, Doctoral Fellow
                      •    2008 IEEE San Fernando Valley Section Entrepreneurial Business Plan
                          Competition Judge
                        • Menara Networks EDC IC Team Award – world’s first error free operation over
                          400 km of uncompensated fiber

IC Process Experience • CMOS, silicon / SiGe bipolar, silicon / SiGe BiCMOS, complementary bipolar,
                        CBiCMOS, SOI, SOS, GaAs D-mode / E-mode MESFET, AlGaAs / InP HBT

Skills                  • CADENCE Analog Artist Schematic Composer, Spectre Simulator

Security Clearance      • Secret clearance is presently supported by Nu-Trek.
                        • US Citizen
